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                                                                          Page 1

 1
 2      SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF SUFFOLK
 3      - - - - - - - - - - - - - - - - - - - - - - - -x
        CAPITAL ONE TAXI MEDALLION FINANCE,
 4
                                         Plaintiff,
 5
                -against-         Index No:         608014/2015
 6
        JEB MANAGEMENT CORP. and RUBEN ELBERG,
 7
                                     Defendants.
 8      - - - - - - - - - - - - - - - - - - - - - - - -x
 9                              875 Third Avenue
                                New York, New York
10
                                June 22, 2017
11                              9:54 a.m.
12            EXAMINATION BEFORE TRIAL of RUBEN ELBERG,
13      the Judgment Debtor in the above-entitled
14      action, held at the above time and place, taken
15      before Alice Schulman, a Notary Public of the
16      State of New York, pursuant to Subpoena and
17      stipulations between Counsel.
18
19
20
21
22
23
24
25

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                                                  Page 2                                                  Page 4
 1                                                          1
 2 APPEARANCES:
 3                                                          2       IT IS FURTHER STIPULATED, a copy of this
     TROUTMAN SANDERS LLP                                   3   examination shall be furnished to the attorney
 4      Attorneys for Plaintiff/
        Judgment Creditor CAPITAL ONE                       4   for the witness being examined without charge.
 5      TAXI MEDALLION FINANCE, a trade                     5             * * *
        name for All Points Capital
 6      Corp., N/K/A Capital One
                                                            6   R U B E N E L B E R G, the Witness herein,
        Equipment Finance Corp.                             7   having first been duly affirmed by the Notary
 7      875 Third Avenue
                                                            8   Public, was examined and testified as follows:
        New York, New York 10022
 8                                                          9   EXAMINATION BY
     BY: JONATHAN D. FORSTOT, ESQ.,                        10   MR. FORSTOT:
 9      ANDREW BUCK, ESQ.
10                                                         11       Q. What is your name?
11                                                         12       A. Ruben Elberg.
     ABRAMS, FENSTERMAN, FENSTERMAN, EISMAN,
12   FORMATO, FERRARA & WOLF, LLP                          13       Q. Where do you reside?
        Attorneys for RUBEN ELBERG                         14       A. 1523 President Street, Brooklyn,
13      3 Dakota Drive - Suite 300
        Lake Success, New York 11042
                                                           15   New York 11213.
14                                                         16       Q. Mr. Elberg, I'm Jonathan Forstot of
     BY: BRIAN T. McCARTHY, ESQ.
                                                           17   Troutman & Sanders on behalf of Capital One.
15
          * * *                                            18   Have you been deposed before?
16                                                         19       A. Maybe once before.
17
18                                                         20       Q. Maybe once, you're not sure?
19                                                         21       A. Once before, yes.
20
21
                                                           22       Q. So you know how this works?
22                                                         23       A. Not very well. If you can explain,
23
24
                                                           24   I would appreciate it.
25                                                         25       Q. I'll be asking you questions and
                                                  Page 3                                                  Page 5
 1                                                          1               Ruben Elberg
 2               STIPULATIONS                               2   you're under oath. The court reporter will take
 3       IT IS HEREBY STIPULATED, by and between the        3   down a transcript of everything we say, so make
 4   attorneys for the respective parties hereto,           4   sure your answers are oral, not nods of the
 5   that:                                                  5   head, no gestures.
 6       All rights provided by the C.P.L.R., and           6        A. No problem.
 7   Part 221 of the Uniform Rules for the Conduct of       7        Q. We need to have a written
 8   Depositions, including the right to object to          8   transcript of this. If you don't understand
 9   any question, except as to form, or to move to         9   anything I ask you, please let me know and I'll
10   strike any testimony at this examination is           10   try to rephrase it so you understand the
11   reserved; and in addition, the failure to object      11   question, okay?
12   to any question or to move to strike any              12        A. Yes.
13   testimony at this examination shall not be a bar      13        Q. You gave an address to the court
14   or waiver to make such motion at, and is              14   reporter, that's where you presently live?
15   reserved to, the trial of this action.                15        A. Yes.
16       This deposition may be sworn to by the            16        Q. Do you have any other residences
17   witness being examined before a Notary Public         17   besides that?
18   other than the Notary Public before whom this         18        A. No.
19   examination was begun, but the failure to do so       19        Q. You are therefore a resident of the
20   or to return the original of this deposition to       20   State of New York, correct?
21   counsel, shall not be deemed a waiver of the          21        A. Yes.
22   rights provided by Rule 3116, C.P.L.R., and           22        Q. Who else lives at that address with
23   shall be controlled thereby.                          23   you?
24       The filing of the original of this                24        A. My wife and nine children.
25   deposition is waived.                                 25        Q. Anybody else?
                                                                                                2 (Pages 2 - 5)
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                                                  Page 6                                                      Page 8
 1               Ruben Elberg                               1               Ruben Elberg
 2       A. No.                                             2   these other litigations, correct?
 3       Q. What kind of structure, is it a                 3       A. Yes. I shouldn't say that, forgive
 4   house, an apartment?                                   4   me. There were some documents translated from
 5       A. A private house.                                5   English to Chinese when we went out to market
 6       Q. So a stand-alone house?                         6   one of the projects we were involved in, so I
 7       A. Yes.                                            7   want to correct my answer.
 8       Q. On President Street?                            8       Q. Listen carefully to my question.
 9       A. Yes, sir.                                       9   Did you have to have any document translated
10       Q. Who owns the house?                            10   from English into another language for you to be
11       A. I do with my wife.                             11   able to understand if?
12       Q. You said nine of your children live            12       A. No, not for me.
13   there?                                                13       Q. Let's go over, why don't you tell
14       A. Yes.                                           14   me the names, ages of your 14 children and who
15       Q. You have a total of 14 children?               15   lives with you and who doesn't.
16       A. Yes, I do.                                     16       A. We have Baruch who is nine years
17       Q. Where are the other children who               17   old.
18   don't live with you?                                  18       Q. He lives where?
19       A. Some of them are married, and some             19       A. With us. Channa who is 12 years
20   of them are in Yeshivas, and then when they come      20   old, she lives with us. We have Ahron, he's 13,
21   back, they live with us for a month or two and        21   he lives with us. We have Levi who is his twin,
22   then they go back. They're not steadily in our        22   also 13.
23   home, they're in Yashivas.                            23       Q. He lives with you?
24       Q. Are the Yashivas in New York?                  24       A. With us, yes. We have Yisrael,
25       A. One was in Westchester, one was in             25   he's 15. If I'm off a little bit on the ages,
                                                  Page 7                                                      Page 9
 1                Ruben Elberg                         1                    Ruben Elberg
 2   Los Angeles, which is shlichus, he's an emissary 2         forgive me. I believe I'm telling you
 3   from higher rabbinical school, and the other one 3         everything correctly. Yisrael, we have Moshe.
 4   was in France. S-H-L-I-C-H-U-S, it's a Hebrew 4                Q. Wait, where does Yisrael live?
 5   word.                                             5            A. With us. We have Moshe who is 17.
 6        Q. Is English your native language?          6        He is in Yashiva in Westchester, and he just
 7        A. No, I was born in Russia.                 7        came back just recently. So his summer, he is
 8        Q. What languages do you speak besides 8              at home.
 9   English?                                          9            Q. Is he going to go back to Yashiva
10        A. Russian, Hebrew, I understand            10        after the summer?
11   Yiddish and Georgian and English.                11            A. I don't know. I don't know where.
12        Q. Do you conduct business in English? 12             We are working on it, we just don't know which
13        A. Yes, I do.                               13        Yashiva yet. We have Shneur, he is 19, and he
14        Q. Do you believe you need an               14        was in Brunoy, France.
15   interpreter to understand any of my questioning? 15            Q. How do you spell that?
16        A. I don't believe so. If I have            16            A. B-R-O-I-N-O, Brunoy, France, in
17   questions, I'll try to ask you to clarify.       17        Yashiva. And we have Josef, he's 22. He was in
18        Q. You're involved in several               18        Yashiva in Los Angeles.
19   litigations, correct?                            19            Q. You said he was or is he?
20        A. Yes.                                     20            A. He is coming back, he was and he's
21        Q. Have you had to have any documents 21              coming back in a week, and I don't know what
22   in any of those litigations translated for you   22        he's going to do next year. For the last year
23   into a language other than English?              23        he was there. He's still there, and he's coming
24        A. No.                                      24        back in a week. Should I continue?
25        Q. So you've been using English in          25            Q. Yes, please.
                                                                                                   3 (Pages 6 - 9)
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                                                  Page 10                                                    Page 12
 1               Ruben Elberg                                1           Ruben Elberg
 2       A. Then we have David. He's supposed                2    Q. There's not somebody named Shabtai?
 3   to be in Yashiva in Crown Heights.                      3    A. Shabtai is Mandel. Shabtai
 4       Q. How old is he?                                   4 Menachem, he has three names.
 5       A. He's 23.                                         5    Q. What is your name?
 6       Q. Does he live at home or at the                   6    A. Ruben Elberg.
 7   Yashiva?                                                7    Q. Do you go by any other names?
 8       A. Yes. And we have Mandel, he's                    8    A. No.
 9   married. He's 24 and a half I would say.                9    Q. Have you ever gone by any other
10       Q. Where does Mandel live?                         10 name?
11       A. In Crown Heights.                               11    A. No.
12       Q. In his own place?                               12    Q. So --
13       A. He's renting an apartment.                      13    A. Do you have bottled water?
14       Q. Next.                                           14         MR. BUCK: He's looking for
15       A. Then we have Miriam. She lives                  15    unopened.
16   with us and she's a teacher.                           16         THE WITNESS: I appreciate it.
17       Q. How old?                                        17    Thank you so much.
18       A. Twenty-six.                                     18    Q. Baruch is the youngest?
19       Q. Okay.                                           19    A. Yes, sir.
20       A. Then we have Shterna, she is 27 and             20    Q. He lives with you. Does he go to
21   she lives in her own home, she's married.              21 school?
22       Q. Where does she live?                            22    A. Yes, he goes to Yashiva.
23       A. Crown Heights.                                  23    Q. Is there a tuition for that school?
24       Q. Okay.                                           24    A. Yes, there is.
25       A. Then we have Dina.                              25    Q. Who pays the tuition?
                                                  Page 11                                                    Page 13
 1             Ruben Elberg                                  1               Ruben Elberg
 2       Q.   Dina you said?                                 2        A. For the past two, three years,
 3       A.   Yes, she's 30 years old and she's              3   unfortunately I have not been able to pay the
 4   married.                                                4   tuition, but I had a good track record in the
 5       Q. Where does Dina live?                            5   past years with Yashivas, and they have been
 6       A. In Crown Heights.                                6   patient with me, so they have not been, you
 7       Q. But not with you?                                7   know, throwing my kids out of school.
 8       A. No.                                              8        Q. So you haven't paid tuition in
 9       Q. The area of Brooklyn you live in,                9   three years?
10   what area is that?                                     10        A. Two and a half, three years, yeah.
11       A. Crown Heights.                                  11   It's unfortunate, but that's the reality.
12       Q. So the President Street address is              12        Q. And Channa?
13   in Crown Heights?                                      13        A. She's also in Yashiva.
14       A. Yes.                                            14        Q. Sorry?
15       Q. Okay.                                           15        A. She's also in Yashiva, in girl's
16       A. Then we have Tsipora who is also a              16   Yashiva.
17   teacher and she's living in Crown Heights as           17        Q. She lives with you but goes to a
18   well with us, and she's 30 years old.                  18   girl's Yashiva?
19       Q. You said she's a teacher?                       19        A. Yes.
20       A. A teacher, yes.                                 20        Q. Who pays her tuition?
21       Q. And lives with you?                             21        A. Also the same thing, the first year
22       A. With us in the house, yes. She's                22   maybe I paid a little bit, and the second year I
23   not married yet.                                       23   paid something towards it, but I haven't paid
24       Q. Is that everybody?                              24   anything in the past two years.
25       A. Yes.                                            25        Q. Levi and Ahron?
                                                                                                4 (Pages 10 - 13)
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                                                  Page 14                                                  Page 16
 1               Ruben Elberg                                1              Ruben Elberg
 2        A. The same thing.                                 2       A.   Yes.
 3        Q. They live at home, they go to                   3       Q.   But you don't know exactly?
 4   Yashiva but you're not paying tuition?                  4       A.   I don't have the exact date. I can
 5        A. Unfortunately I'm unable to.                    5   check.
 6        Q. Yisrael?                                        6       Q. You're going to owe how much, 400
 7        A. Yisrael, the same thing.                        7   some odd thousand dollars?
 8        Q. Yisrael lives at home, goes to                  8       A. 420, I'm paying ten percent
 9   Yashiva, but you don't pay tuition?                     9   interest a year which comes to 35,000 a year.
10        A. Yes, sir.                                      10   So if you multiply by two, that's 70,000.
11        Q. Moshe?                                         11       Q. Have you made any repayments yet?
12        A. Moshe same thing. Moshe, the past              12       A. No.
13   two years I haven't paid tuition, but the last         13       Q. When you say you have to pay him in
14   year now I paid some towards because he's out of       14   six months to a year, is that the entire
15   town Yashiva, so you have to pay something. So         15   repayment --
16   I paid some money towards the tuition, but I           16       A. He knows --
17   still owe at least half of it, if not more.            17       Q. Let me finish the question. Is it
18        Q. So there's tuition and there's also            18   the first of a number of repayments? I'm not
19   living expenses; is that right?                        19   following what you're going to be doing in six
20        A. That's part of it, that's all                  20   months to a year.
21   inclusive.                                             21       A. I got the loan for litigation
22        Q. How much is that on an annual basis            22   purposes, and he is flexible with me. He gave
23   for Moshe for the last year?                           23   me a two-year period, but he can extend it for
24        A. I committed to approximately 65 or             24   another year if it's necessary. I'm in
25   $6,000 completely.                                     25   discussions with him now, so there's no final
                                                  Page 15                                                  Page 17
 1                Ruben Elberg                               1                Ruben Elberg
 2        Q. You committed, is that what they                2   date that I have right now.
 3   charge or is that what you said you would pay?          3        Q. Originally, did you sign a note?
 4        A. They generally charge, they wanted              4        A. Yes, I did. My house is good as a
 5   eight, and I committed to six, and I paid some          5   guarantee.
 6   of it, I didn't pay all of it yet.                      6        Q. Is there a due date on the note?
 7        Q. Where did you get the money to pay              7        A. Yes, there are two stages. One was
 8   that?                                                   8   250 and another hundred was given to me. The
 9        A. I had borrowed money twice in the               9   first loan was January, and the second loan was
10   last two years because of the litigation, from         10   September of 2016, so it was two years per.
11   personal loans and interest and basically paid         11        Q. So the first note is due if there's
12   legal expenses and other expenses that I've had        12   no extension in January of 2018, and then the
13   to maintain myself going forward.                      13   next note is due --
14        Q. Who loaned you the money and how               14        A. In September.
15   much?                                                  15        Q. -- September of 2018; is that
16        A. There was a friend whose name is               16   correct?
17   Shalom Bahr, and I think his fund is called            17        A. Yes.
18   Kerem Menahem Fund, Kerem Menahem Trust, I             18        Q. You said you guaranteed with the
19   think. I borrowed from him $350,000, interest          19   house, the house you live in?
20   to be paid at the end of the two-year period,          20        A. I gave him my house as a guarantee
21   and that would be like 420 by the time I have to       21   to repay the loan because I have equity in the
22   pay it back.                                           22   house, so I gave him that as a guarantee.
23        Q. When is it due to be repaid?                   23        Q. Did you give him a mortgage on the
24        A. In about six months to a year.                 24   house?
25        Q. From now?                                      25        A. Yes, a second mortgage, I signed a
                                                                                               5 (Pages 14 - 17)
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                                                  Page 18                                                 Page 20
 1             Ruben Elberg                                  1                Ruben Elberg
 2   note.                                                   2        Q. When you literally got the money,
 3       Q. You say a few thousand of that                   3   did you put it in a bank or was it in cash, how
 4   you've paid to the Westchester Yashiva?                 4   did you get it?
 5       A. Yes.                                             5        A. I put it in a bank. I didn't get
 6       Q. You still owe them more money?                   6   it in cash, of course not.
 7       A. Yes.                                             7        Q. Was it a check?
 8       Q. Shneur is in France you say?                     8        A. Check.
 9       A. Yes.                                             9        Q. Where did you deposit the check?
10       Q. Studying in Yashiva there?                      10        A. To my recollection, my account, my
11       A. Yes.                                            11   personal account.
12       Q. Who is paying for that?                         12        Q. Where is that?
13       A. That's also a similar situation as              13        A. Capital One.
14   Moshe. I paid some of it, I owe substantial            14        Q. Any other account that you have,
15   money toward Yashiva tuition. And he's back and        15   any other bank accounts that you have?
16   he won't be going back because I don't have the        16        A. I might have deposited it in a
17   means to continue the Yashiva there, I don't           17   business account.
18   have the money to keep the payments up.                18        Q. I'm sorry?
19       Q. He's home now?                                  19        A. In a business account.
20       A. He came back yesterday, so he will              20        Q. You might have deposited that money
21   be staying for now.                                    21   in a business account?
22       Q. How long was he in France for?                  22        A. Or a portion of it. I can't be
23       A. Just one year.                                  23   sure now exactly where I deposited it. Some of
24       Q. How much did you pay for that?                  24   it I deposited in personal, some of it I
25       A. That would be in the seven or                   25   deposited in business. I can get that
                                                  Page 19                                                 Page 21
 1                 Ruben Elberg                              1              Ruben Elberg
 2   $8,000 range plus travel expenses with the              2   information for you if it's necessary.
 3   tickets back and forth. And I didn't pay it in          3       Q. Where was that business account?
 4   full. I still owe money towards that as well.           4       A. It was in Capital One.
 5       Q. You paid seven or eight or you owe               5       Q. Both accounts are in Capital One?
 6   seven or eight?                                         6       A. Yes, and then I have another
 7       A. The amount was, I believe, eight or              7   business account in Bank of America.
 8   nine if I remember correctly, and I paid maybe          8       Q. So we're talking three accounts
 9   six towards it, five and a half.                        9   now?
10       Q. Where did you get that money from?              10       A. Yes. It's a business account.
11       A. Part of the loan that I borrowed                11       Q. The account that you said, the
12   before.                                                12   personal account, is that in your name?
13       Q. The moneys that you got from the                13       A. Yes, I supplied the personal
14   loans, you got the proceeds from them. What did        14   account information to you.
15   you do with the proceeds when you first received       15       Q. That's in the name of Ruben Elberg?
16   each of those loans?                                   16       A. Yes.
17       A. I paid some of it in legal fees.                17       Q. Anybody else a signatory on that?
18   Some of it I paid old debts that I had accrued         18       A. No.
19   before I had from someone else, I paid that off.       19       Q. Just you?
20   And some of it I paid for ongoing expenses that        20       A. Yes.
21   I had.                                                 21       Q. The business account at Capital
22       Q. That's not what I meant. Let me                 22   One, whose name is that in?
23   clarify. When you got the first loan, the first        23       A. Business account, Capital One, it's
24   loan was how much?                                     24   in my name.
25       A. 250.                                            25       Q. Ruben Elberg?
                                                                                              6 (Pages 18 - 21)
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 1                 Ruben Elberg                          1               Ruben Elberg
 2       A. Three accounts are the Capital,              2   special place like a file cabinet, do you keep
 3   those are Merill, Spindle and Jerub, those are      3   them all together in an organized way?
 4   in Capital One.                                     4       A. I wouldn't say, it's not the most
 5       Q. J-E-R-U-B, Merill and Spindle. All           5   organized way.
 6   right, let's take this a little more slowly.        6       Q. You would be able to find them
 7   You got 250, $250,000 in a check?                   7   without much trouble if you needed to?
 8       A. Yes.                                         8       A. I can always get a copy if I need
 9       Q. When was this?                               9   to.
10       A. January of 2016.                            10       Q. I know that, but if you have it
11       Q. And you took that check and you             11   somewhere in your home, you know where to go to
12   deposited it where?                                12   look to find it, correct?
13       A. Into a business account, business           13       A. Again, I don't have it in an
14   account.                                           14   organized way. I have to look for it. If it's
15       Q. Which business account?                     15   in my home, I will give it to you. If it's not,
16       A. N. Minue, Inc.                              16   I will locate it and give it to you. I will get
17       Q. N. Minue, Inc., N. M-I-N-U-E, Inc.          17   a copy from the bank.
18   Where was that account?                            18       Q. It's not a big deal to do?
19       A. It was, one was in Capital One and          19       A. It's something that I would have to
20   I had also in Bank of America.                     20   do.
21       Q. Which of those two accounts did you         21       Q. But you would be able to do it
22   deposit that $250,000 check in?                    22   easily, correct, you can get me those
23       A. I don't remember. I believe it              23   statements, correct?
24   should have been -- I don't have the exact         24       A. I will work on it.
25   information. I would have to check back and        25       Q. That's not my question. My
                                              Page 23                                                    Page 25
 1               Ruben Elberg                         1                   Ruben Elberg
 2   give you that information.                       2      question is, is it difficult for you to get
 3       Q. Where would you check?                    3      these bank statements for me?
 4       A. The bank, which bank account I            4          A. Why would you say it's difficult?
 5   deposited it in and how much and when, I would 5        I don't understand the question.
 6   have to check it.                                6          Q. I'm asking if you think it's a
 7       Q. When you said you would check in          7      difficult task to get these bank statements.
 8   the bank, what does that mean?                   8          A. No, I don't think so.
 9       A. I have to check which deposits were       9          Q. So you would have to do that in
10   made in which banks.                            10      order to tell me which of the accounts, which of
11       Q. I know that. How would you do            11      the business accounts you deposited the $250,000
12   that, would you go to a document, would you ask 12      check into, correct?
13   somebody, how would you find out?               13          A. Right.
14       A. I would go to the bank.                  14          Q. The loan that you took out, was it
15       Q. You would literally physically go        15      taken out in the name of some business or in
16   to the bank and ask them?                       16      your individual name?
17       A. Or look at my statements and see         17          A. I gave a personal guarantee. He
18   where the deposits would be.                    18      gave it to me on my personal name.
19       Q. So you do have statements for your       19          Q. So the note you signed was you as
20   bank accounts, correct?                         20      an individual, not on behalf of N. Minue or any
21       A. Do I have statements from the bank       21      other entity, correct?
22   accounts, yes, I do.                            22          A. I don't believe so, no.
23       Q. Where do you keep those?                 23          Q. Whatever account you put it into,
24       A. I have them in my home, I believe.       24      how much of that $250,000 is still available to
25       Q. I mean, do you have them in a            25      you somehow?

                                                                                             7 (Pages 22 - 25)
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 1               Ruben Elberg                              1               Ruben Elberg
 2       A. I have $4,000 in the account.                  2       A. Two of them are. One of them I
 3       Q. I'm not asking about the account.              3   would say partially still advises me.
 4   I'm asking about the sum of money. You had            4       Q. So they're all still your lawyers?
 5   $250,000, you deposited it into some account.         5       A. Yes.
 6   Whatever happened to the money, whether it moved      6       Q. Any other law firm besides those
 7   to other accounts or you used it, how much of         7   three?
 8   that sum is left to you available today?              8       A. No.
 9       A. $4,000.                                        9       Q. I know you can't tell me exactly
10       Q. So you've paid 246,000 of it to               10   between the two loans, but where else did the
11   various --                                           11   money go besides you told me law firms, and you
12       A. Yes.                                          12   used it to pay for Shneur, sorry, I can't
13       Q. -- payees?                                    13   pronounce his name.
14       A. Yes.                                          14       A. Shneur.
15       Q. And you've told me that you used              15       Q. Shneur, his expenses in France,
16   some to pay legal fees; is that right?               16   Yashiva and so on?
17       A. Yes.                                          17       A. Yes.
18       Q. Do you know how much of that                  18       Q. Did you use some of that money to
19   246,000 went to legal fees?                          19   pay for some of the other Yashivas you've talked
20       A. I have to get a record from my                20   about?
21   lawyer to see how much I paid which law firm and     21       A. Just a minor portion, yes.
22   when.                                                22       Q. Anything else that money was used
23       Q. Do you have any idea how much?                23   for?
24       A. I would say more than $300,000.               24       A. Well, my wife works, so we don't
25   Remember, I told you I took an additional            25   have enough income. So if there's anything to
                                                Page 27                                                     Page 29
 1               Ruben Elberg                              1                Ruben Elberg
 2   $100,000, so I would say more than $300,000 has       2   offset the living expenses that we need, I used
 3   gone to legal fees.                                   3   some of it towards that.
 4       Q. I just want to know about that 250,            4        Q. Did any of it go to Capital One to
 5   where it went. I would assume most of it had to       5   reduce the judgment that Capital One has against
 6   go to legal fees?                                     6   you?
 7       A. Most of the money went to legal                7        A. No, I made multiple efforts to meet
 8   fees.                                                 8   with Capital One because I have over $100,000
 9       Q. Which law firm did it go to?                   9   sitting in the bank account. I wanted to offer
10       A. It went to Kaye Scholer, Levi                 10   to pay those funds in the three corporations,
11   Huebner & Associates.                                11   and Capital One refused to meet me.
12       Q. What was it?                                  12             They actually not only refused to
13       A. Kaye Scholer, Levi Huebner &                  13   meet but they colluded with my sister in order
14   Associates, some to Abrams & Fensterman. Again,      14   to deny me my right to access my bank accounts
15   I'm telling you this is all including the            15   and be able to function properly, to be able to
16   additional funds I took.                             16   pay my bills.
17       Q. Because you can't divide in your              17        Q. The second $100,000 installment of
18   mind exactly how much you sent to each of one, I     18   the loan, of the second loan, I'm not sure if
19   understand.                                          19   it's a second loan, did you get that in cash or
20       A. Yes.                                          20   a check?
21       Q. Anybody else?                                 21        A. Check.
22       A. Those are the three legal firms               22        Q. What did you do with that check?
23   that I associated with.                              23        A. The same thing.
24       Q. Are they all three still your                 24        Q. You deposited it?
25   lawyers?                                             25        A. I deposited it in the bank.

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 1             Ruben Elberg                            1                Ruben Elberg
 2        Q.  Which bank account did you deposit       2   medallion companies, and I paid investments in
 3   it in?                                            3   other businesses. I have that money, the money
 4        A. I would have to check, I don't            4   that's owed us that was sold, and the money is
 5   remember exactly.                                 5   available to be repaid but it's stuck in this
 6        Q. You would have to check the bank          6   unfortunate mess that we're in.
 7   statements you have at home?                      7       Q. Now, you say you borrowed money
 8        A. Yes.                                      8   from these entities. You're talking about the
 9        Q. Again, that was used, as far as you       9   entities that own the medallions?
10   know, for paying legal fees --                   10       A. Merill, Spindle and Jerub.
11        A. Yes.                                     11       Q. So we don't have to say Merill,
12        Q. -- and some other expenses; is that      12   Spindle and Jerub every time, can we call them
13   right?                                           13   the medallion companies?
14        A. Yes.                                     14       A. Yes.
15        Q. You just mentioned $100,000 sitting 15                 MR. McCARTHY: I want to object.
16   in three accounts?                               16       Potentially there may be confusion among
17        A. Yes.                                     17       other medallion companies, but for now you
18        Q. Or an account for three companies,       18       can do it.
19   I couldn't quite get what you said.              19       A. I would say Spindle and Merill are
20        A. Yes, Merill, Spindle and Jerub has       20   solely owned by me, so I would rather focus when
21   been accruing income from the medallions in the 21    I speak about my total ownership with that, and
22   taxi corporations, and I made an attempt to meet 22   Jerub is owned 50/50 with my father. One of
23   with Capital One. Judge Catterson reached out 23      those cabs have to be associated with the other
24   to meet with them, to set up a meeting and try 24     company that you just mentioned.
25   to work something out.                           25       Q. That's fine. Any time it becomes
                                              Page 31                                                  Page 33
 1               Ruben Elberg                          1                Ruben Elberg
 2       Q. What's the name?                           2   important to distinguish, please do so. We
 3       A. James C-A-T-T-E-R-S-O-N.                   3   don't have to use a definition to override what
 4       Q. The money that's sitting in those          4   you think the facts are.
 5   accounts, you're talking about that's income      5            So you said you borrowed money from
 6   from medallions owned by those entities?          6   these entities, these medallion entities. Which
 7       A. Correct.                                   7   of them did you borrow money from?
 8       Q. That's the money that you were             8       A. Spindle, Merill and Jerub.
 9   going to, you were proposing if you were able to 9        Q. All three?
10   meet with Capital One to pay to Capital One?     10       A. All three, yes.
11       A. Pay and also negotiate some kind of       11       Q. When did you do that?
12   a direction of resolution with these judgments 12         A. From 2003 through 2012 when we
13   because, you know, it's very difficult to        13   started diversifying into the real estate
14   function under a scenario where you have my      14   sector.
15   sister saying she owns the assets of, not she,   15       Q. So from 2003 to 2012, you borrowed
16   but the estate owns the assets of Jerub, Spindle 16   money from each of those entities?
17   and Merill, but the liabilities are mine.        17       A. Yes.
18            And basically she's taking the          18       Q. How did you do that?
19   position that those companies belong to the      19       A. We refinanced with Capital One, and
20   estate, and I have to pay the judgments on these 20   we took some equity out and we invested it in
21   accounts.                                        21   real estate.
22       Q. Because you guaranteed their debt,        22       Q. So you took equity out?
23   correct?                                         23       A. Yes.
24       A. Not only because I guaranteed it,         24       Q. But you view that as a loan from
25   but I actually borrowed money from these         25   the company to you or as a capital distribution?
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                                              Page 34                                                   Page 36
 1               Ruben Elberg                          1                  Ruben Elberg
 2       A. No, it was a loan, it was loans.           2         Q. But as far as Merill and Spindle
 3       Q. How much did Merill loan you?              3     go, you're the only owner?
 4       A. In total from 2003 to 2014, Merill,        4         A. Correct.
 5   Spindle and Jerub lent $2,450,000 roughly.        5         Q. So you took a loan from each of
 6       Q. It lent that to you?                       6     those entities?
 7       A. Lent, lent it to me, and my father         7         A. Correct.
 8   was handling actually the finances. So we made    8         Q. So you have three loans?
 9   those investments, we deposited them either in    9         A. Correct.
10   their own accounts directly, Mandel, Spindle or  10         Q. Is there any loan documentation, a
11   Jerub.                                           11     loan agreement or any other documents --
12           I can tell you the way the money         12         A. No.
13   was used, or it was deposited directly into the  13              MR. McCARTHY: Let him finish his
14   Royal One Real Estate Account or Royal Real      14         question.
15   Estate Management account, or it was directly    15         A. I apologize.
16   wired to Rosenthal & Rosenthal who was a lender  16         Q. That's all right. Otherwise, if we
17   on some of those properties.                     17     speak over each other, it's not going to come
18           For example, a million dollars in        18     out in the transcript.
19   2011, 2012 was directly wired to pay a loan down 19         A. Please finish.
20   on these two entities that I just described,     20         Q. Is there any document reflecting
21   RORE and RREM. Let's just abbreviate the         21     the loan between those entities and you and in
22   companies, Royal One Real Estate will be         22     one case those entities between you and your
23   abbreviated to RORE and Royal Real Estate        23     father?
24   management will be abbreviated to RREM, R-R-E-M. 24         A. No.
25       Q. You said you borrowed the money.          25         Q. Who made the decision to borrow
                                              Page 35                                                   Page 37
 1                Ruben Elberg                           1               Ruben Elberg
 2   Is there a loan agreement between you and these     2   money from Merill?
 3   entities?                                           3       A. I did.
 4       A. Yes.                                         4       Q. Who made the decision to borrow the
 5       Q. Do you have a copy of that?                  5   money from Spindle?
 6       A. Yes, the Capital One, the last 2012          6       A. I did.
 7   loan agreement, we have it, sure, we can supply     7       Q. And who made the decision to borrow
 8   it.                                                 8   the money from Jerub?
 9       Q. No, no, the loan from Merill,                9       A. Jacob and I.
10   Spindle and Jerub to you of $2,450,000?            10       Q. So you owe each of those entities
11       A. No.                                         11   moneys to pay back those loans?
12       Q. You said you borrowed money from            12       A. Yes, sir.
13   these entities.                                    13       Q. When is that due?
14       A. We borrowed it from Capital One.            14       A. There was a problem that created
15       Q. The loans, there were loans made to         15   the dispute between my sister and myself. The
16   each of these medallion owning entities by         16   problem is very simple, in 2001 when we changed
17   Capital One, correct?                              17   accountants, my father found a new accounting
18       A. Correct.                                    18   firm.
19       Q. You said, and tell me if this is            19            He was running the taxi medallion
20   not what you meant, that then you borrowed         20   business, and he was operating it, and I gave
21   money, you took money out --                       21   him power of attorney to do everything, he was
22       A. We took money out.                          22   signatory on the bank accounts.
23       Q. Who is we?                                  23            I was not involved day to day with
24       A. My father and me because Jerub is           24   those operations. I was handling the real
25   owned by Jacob and Ruben.                          25   estate end of the operations. So what happened

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                                                Page 38                                                 Page 40
 1                Ruben Elberg                             1               Ruben Elberg
 2   was, when we changed from one accounting firm to      2       A. I don't understand who would
 3   another, the new accountant filed all the tax         3   negotiate that. I don't understand what you're
 4   returns under Jacob Elberg 100 percent owner.         4   saying.
 5             When we were borrowing money, it is         5       Q. Did anybody take Merill's side of
 6   reflected in the tax return as if Jacob borrowed      6   that discussion and the decision from Merill to
 7   the money from Spindle, Merill and Jerub as 100       7   loan you Ruben Elberg money?
 8   percent owner, but all the loan documents and         8       A. No.
 9   everything else, I borrowed it. I signed for          9       Q. That was just you, right?
10   it, I personally guaranteed for it.                  10       A. Yes.
11             Jacob also personally guaranteed           11       Q. You just made the decision all on
12   the companies I owned because he was running it,     12   your own?
13   and the money was being processed through JEB        13       A. Yes.
14   Management.                                          14       Q. You took money out and you decided
15             And because he was in control of           15   there would be a loan?
16   the moneys, Capital One made JEB Management as       16       A. I borrowed money from my
17   an additional guarantor and Jacob Elberg as an       17   corporation, and my father borrowed from his
18   additional guarantor on all those loans.             18   corporation, and actually we did capital
19             But I'm not a guarantor on any of          19   contributions into the RORE and RREM.
20   Jacob Elberg's other medallion loans. He was a       20             And from there they were to be
21   guarantor on mine.                                   21   capital contributions to Royal CP and Royal HI
22        Q. That's not my question. My                   22   entities.
23   question is when is the money that was borrowed      23       Q. But my question is, who decided
24   by you from Merill and Spindle and borrowed by       24   that it would be, for example, in the form of a
25   you and your father from Jerub, when is that due     25   loan as opposed to a distribution of equity?
                                                Page 39                                                 Page 41
 1               Ruben Elberg                          1                    Ruben Elberg
 2   to be paid back to those entities?                2            A. My father and I, we discussed it
 3       A. It was due to be paid back after a         3       and we said that we were going to take this as a
 4   refinancing of the hotel project that we were     4       loan and then repay it back when we could to the
 5   going to stabilize or a sale of the hotel         5       companies.
 6   project that we were going to stabilize.          6            Q. Why did you decide it would be a
 7       Q. Is there anything in writing that          7       loan as opposed to an equity distribution?
 8   says that's when it's due back?                   8            A. I don't remember the reason behind
 9       A. No.                                        9       it, but it was to be paid back to those
10       Q. Is there an interest rate?                10       companies.
11       A. The accountant was imputing two           11            Q. You said in a prior answer that
12   percent interest in the tax returns.             12       Capital One colluded with your sister. What
13       Q. How do you know that?                     13       evidence do you have of the collusion?
14       A. I know that.                              14            A. My sister had a tendency to record
15       Q. But how do you know that?                 15       people, and she basically recorded Mark
16       A. The accountant told me.                   16       Gallagher who was Capital One Bank's lawyer
17       Q. Which accountant is that?                 17       basically. I have a transcript of it, I
18       A. Fred Roth.                                18       submitted it in the case, and it's --
19       Q. Who negotiated the loan on behalf         19            Q. Any evidence you had of what you
20   of Merill?                                       20       call collusion you submitted to the court; is
21       A. What do you mean by that? Please          21       that right?
22   clarify.                                         22            A. I'm sorry?
23       Q. Who took Merill's interest into           23            Q. Any evidence that you have of what
24   account and said I'm going to loan you money, to 24       you call collusion, did you submit that to the
25   you Ruben?                                       25       court in opposition to the summary judgment
                                                                                           11 (Pages 38 - 41)
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                                               Page 42                                                    Page 44
 1                Ruben Elberg                            1               Ruben Elberg
 2   motion made by Capital One?                          2       him finish his question.
 3       A. Yes, I did.                                   3            THE WITNESS: I thought he was
 4            MR. McCARTHY: Sorry, can you just           4       finished, I apologize.
 5       read back the question, and I want to make       5            MR. McCARTHY: I'm sorry.
 6       sure the answer is correct.                      6            MR. FORSTOT: Thanks.
 7            (The record was read.)                      7       Q. The income that goes into that
 8            MR. McCARTHY: Thank you.                    8   account is from running the medallions, right?
 9       Q. So there's no other facts or what             9       A. Yes, sir.
10   you would think of as evidence of this collusion    10       Q. Who pays the money into each of
11   that you could point me to, other than what's       11   those accounts?
12   already been submitted to the court?                12       A. Napersay Management is one, and if
13       A. There is an appeal on this case              13   you give me a minute, I'll tell you the exact
14   that is going to be perfected by the 29th of        14   names, I apologize.
15   this month. So that's going to be filed by the      15            THE WITNESS: Is that okay?
16   29th, and we'll see what happens.                   16            MR. McCARTHY: He just wants to get
17       Q. That's not my question. My                   17       the spelling.
18   question is, do you have any other facts you can    18            MR. FORSTOT: That's fine.
19   point me to other than something --                 19       A. It will take me a minute because I
20       A. I'm not going to get into the                20   shut this off.
21   details of that litigation.                         21       Q. That's all right. All you're
22       Q. Let me finish the question. Do you           22   trying to do is get the spelling of Napersay?
23   have any other fact which you can point me to,      23       A. The two companies we get rental
24   other than what you've already submitted to the     24   income from, that's what I'm searching.
25   court, not a legal argument, any other fact of      25       Q. You can do that at a break and add
                                               Page 43                                                    Page 45
 1                Ruben Elberg                            1                Ruben Elberg
 2   what you call collusion?                             2   that. There are management companies to whom
 3        A. I choose not to go into that aspect          3   Merill, Spindle and Jerub lease the medallions;
 4   because I'm not ready for it, for the discussion     4   is that right?
 5   at this moment. My mind is not settled with          5        A. Right. Merill and Spindle are
 6   those details right now.                             6   leased with one organization, and Jerub is
 7        Q. Who is your lawyer on that case?             7   leased to Napersay Management.
 8        A. I'm pro se right now.                        8        Q. Is there a set monthly amount that
 9        Q. Do you get statements of the                 9   gets deposited from running the medallions?
10   Merill, Spindle and Jerub accounts where this       10        A. Yes.
11   money has been building up?                         11        Q. How much is it?
12        A. Yes.                                        12        A. Right now it's 1,600.
13        Q. I'm sorry, where are those                  13        Q. Per medallion per month?
14   accounts?                                           14        A. Per medallion per month.
15        A. Capital One.                                15        Q. Is that the money that has created
16        Q. So you're aware of how much is              16   this hundred and some odd thousand dollars?
17   sitting in each one?                                17        A. Yes, sir.
18        A. Yes.                                        18        Q. And is there any other income that
19        Q. Do you know roughly how much is             19   those entities have besides those rental
20   sitting in there right now?                         20   amounts?
21        A. I would say around 120,000 between          21        A. No, they don't.
22   the three accounts, if not more.                    22        Q. Those leases, how long do they run
23        Q. That is income paid by --                   23   for?
24        A. Jerub, Spindle --                           24        A. They are two- to three-year lease
25            MR. McCARTHY: You just have to let         25   agreements and, you know, they have an option in

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 1               Ruben Elberg                             1                Ruben Elberg
 2   the lease where they can, if the market              2   people. So I asked my lawyer to be in contact
 3   conditions are not proper, originally these          3   with them to see how we can work something out
 4   leases, we were generating $3,500 a month per        4   without -- I can't have my sister setting the
 5   medallion. And they started dropping, dropping       5   terms on my medallions with what income I'm
 6   to a point where it's reached 1,600.                 6   going to get, because I have obligations to
 7            So they have a way where they can           7   Capital One and I can't do that. She
 8   renegotiate with us. They will give us three         8   interjected again like everywhere else to try to
 9   months and they return to us the medallions, if      9   undermine my ownership.
10   we don't agree to the negotiated terms.             10       Q. Is there a court order that says
11       Q. Who is managing those medallion              11   that she's got the right to do that as opposed
12   entities today?                                     12   to you?
13       A. I just told you, I can give you --           13       A. No, there is no such court order.
14       Q. I don't mean the managing                    14            THE WITNESS: Brian, can you
15   companies. Let's say there's a renegotiation or     15       explain the court order because I'm not
16   a discussion about the medallion lease rates        16       legally savvy with what court orders there
17   between whatever company it is and any of the       17       are.
18   three medallion entities, who talks to these        18            MR. McCARTHY: We're here for your
19   companies on behalf of the medallion entities?      19       deposition, so if you don't understand it,
20       A. I was speaking to them until about           20       that's fine.
21   a year ago, and a year ago, I think less than a     21       Q. Other than receiving income and
22   year ago --                                         22   negotiating lease rates, is there anything else
23            THE WITNESS: Excuse me.                    23   that needs to be done with regard to those
24            (Witness and counsel confer.)              24   entities as far as management of the companies
25       A. Recently one of the management               25   go?
                                               Page 47                                                    Page 49
 1               Ruben Elberg                             1                Ruben Elberg
 2   companies, my two companies told me that             2       A. No, these are management companies.
 3   Pewzner's lawyer told her not to communicate         3   They do everything from A to Z.
 4   with me any more under any negotiation terms,        4       Q. Do they file tax returns for each
 5   and to speak with Tamara in reference to those       5   of the entities?
 6   negotiations, because they had sent me a letter      6       A. No, they do not.
 7   that they were returning those medallions to me      7       Q. Who does that?
 8   because the market was not, you know,                8       A. JEB Management, my father and I.
 9   sustaining, they were paying me 2,500.               9   Unfortunately, that's where the problem started.
10            And when they sent me a letter, I          10   So in 2013, I found out that the tax returns
11   said okay, I'll take them back because I had        11   were being written as my father as 100 percent
12   someone else who was willing to give us in the      12   owner, I challenged the accountant.
13   2,000, $2,200 range. This was like six months       13            I said why are you doing this, you
14   ago, maybe more.                                    14   knew Mark Gallagher was clearly saying these are
15            At that time, I was waiting for            15   the assets. He said I'm sorry, I didn't know.
16   them to return the asset so I could give it to      16   From now on going forward, we're going to
17   the new company which I had preliminary             17   correct it.
18   discussions with.                                   18            I said I don't want to do it going
19            And my sister's lawyer interjected         19   forward. Now it's 2013, tax returns have to be
20   and told them not to give the taxicabs back, and    20   filed. I want to file it the correct way.
21   they renegotiated the terms to 1,600 without my     21            He said no, I can't do that, I've
22   permission.                                         22   already done, it's done and I can't change it
23            Now, I could start another                 23   and the next year we're going to do it the way
24   litigation with these people, but I just don't      24   you want it.
25   have the means to litigate with all these           25            I said I don't want to file

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                                              Page 50                                                  Page 52
 1               Ruben Elberg                            1              Ruben Elberg
 2   anything for 2013. I wrote him a letter from my     2   anything. His expenses were being paid by the
 3   lawyer not to file those returns as a mistake in    3   Yashiva.
 4   the past.                                           4       Q. You say Mandel is married?
 5            And my lawyer asked him, he had            5       A. Yes.
 6   claimed that Jacob Elberg had given him             6       Q. He's living elsewhere in Crown
 7   authority for E-filing, and my lawyer asked him     7   Heights?
 8   to give him the E-filing notices for Spindle,       8       A. Yes.
 9   Merill and Jerub that Jacob owns 100 percent,       9       Q. Miriam lives at home with you?
10   and he could not deliver on his words, whatever    10       A. Yes.
11   he said that Jacob gave him that authority and     11       Q. She's a teacher?
12   direction.                                         12       A. Yes.
13            So I believe he never got that            13       Q. She gets paid for that?
14   authority from my father. My father never          14       A. Yes.
15   claimed those assets to be his. He signed          15       Q. Does she use that money to support
16   papers to the contrary of what my sister is        16   you and your children?
17   claiming, and I just don't understand what I'm     17       A. Yes, she helps us.
18   facing these challenges with. But I'm trying to    18       Q. Your other children?
19   work this through with the legal system. It's      19       A. Yes, she helps us a little.
20   very costly and time consuming.                    20       Q. And Shterna?
21        Q. Joseph Elberg, Josef Elberg, he's          21       A. Shterna is married.
22   in Los Angeles?                                    22       Q. She lives elsewhere?
23        A. Yes, he was sent by the Yashiva as         23       A. She lives elsewhere.
24   an emissary. So that expense, there is no          24       Q. Dina is married and lives
25   tuition there on my part, and even his travel      25   elsewhere?
                                              Page 51                                                  Page 53
 1                Ruben Elberg                           1            Ruben Elberg
 2   expenses is paid by the Yashiva because he is       2       A.  Yes.
 3   sitting in a hall, and he's basically helping       3       Q.  Tsipora is married and lives at
 4   younger students with their learning process.       4   home?
 5        Q. Does he get paid for that?                  5       A. Yes.
 6        A. No.                                         6       Q. She's also a teacher?
 7        Q. But his expenses are covered. He's          7       A. Yes.
 8   coming back you said from LA?                       8       Q. She gets paid for doing that?
 9        A. Yes.                                        9       A. Yes.
10        Q. Is he going to continue to work in         10       Q. Does she use part of that income to
11   that role where he gets his expenses covered?      11   support you and your other children?
12        A. Probably, probably. He's just              12       A. Yes.
13   finishing his rabbinical ordination.               13       Q. You said your wife works?
14        Q. What about David Elberg?                   14       A. She's a teacher.
15        A. David Elberg is finishing, he's            15       Q. She gets paid for that?
16   also finished his rabbinical ordination, and       16       A. Yes.
17   he's going to be starting out on his life now.     17       Q. How much?
18   He's going to start.                               18       A. Less than 2,000 a month, around
19        Q. He's been in the Yashiva for the           19   that range.
20   last two to three years?                           20       Q. Where does she work?
21        A. Yes.                                       21       A. Beth Rifka schools in Crown
22        Q. Who's been paying for that?                22   Heights.
23        A. He had the same circumstances like         23       Q. How long has she worked at that
24   Josef where he was an emissary for the last two,   24   school?
25   three years in Yashivas, and he was not paying     25       A. The past year.
                                                                                        14 (Pages 50 - 53)
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                                              Page 54                                                  Page 56
 1                Ruben Elberg                       1                   Ruben Elberg
 2       Q. So that's a new job?                     2           Q. Go ahead, so you managed the
 3       A. She did part-time work before and,       3       restaurant, is that what you did?
 4   you know, recently we needed the income so she 4            A. I was a partner in one of the
 5   went out and started working.                   5       restaurants.
 6       Q. You said it's $2,000 a month?            6           Q. Did you actually manage it?
 7       A. Approximately.                           7           A. Yes, I worked there day to day.
 8       Q. What about you, do you work?             8           Q. Go ahead, any other jobs?
 9       A. No, I do not.                            9           A. In 2001 roughly we started
10       Q. You don't have a job?                   10       diversifying into real estate, trying to find
11       A. No, I do not.                           11       investment opportunities in real estate, and
12       Q. What are your monthly expenses for 12            tried to build a portfolio in real estate.
13   you and all your children you support?         13           Q. You managed that?
14       A. I have rent which is about, it's        14           A. My father and myself.
15   not rent, I apologize, it's a mortgage. I have 15           Q. You said you were managing, what
16   a $400,000 mortgage on the house, and that's   16       were you managing?
17   about $2,600 per month for mortgage. I have    17           A. I was finding the assets, doing all
18   electric, gas, you know, basic household       18       the approvals that were needed, if it was a
19   expenses, another five, $600 a month,          19       development site, raising capital, everything
20   approximately.                                 20       that needed to be done day-to-day to bring the
21       Q. And you need food?                      21       project to fruition I was handling.
22       A. We have food stamps.                    22           Q. Any other jobs?
23       Q. You qualify for food stamps?            23           A. No.
24       A. Yes.                                    24           Q. Have you attempted to go back to
25       Q. Have you ever had a job?                25       work as a gemologist?
                                              Page 55                                                  Page 57
 1               Ruben Elberg                            1               Ruben Elberg
 2       A. Yes.                                         2       A. I've looked into it, and all the
 3       Q. What jobs have you had?                      3   people in the diamond industry are telling me
 4       A. I worked in the beginning of my              4   don't waste your time, this is not an industry
 5   career, I was a gemologist and mineralogist. I      5   that you want to go back into.
 6   worked in the diamond district as a gemologist.     6       Q. Have you looked for a job in any
 7       Q. Do you have some certification in            7   way recently in the last couple of years?
 8   that area?                                          8       A. I'm contemplating going into
 9       A. I'm a certified gemologist.                  9   brokerage because I do know the real estate
10       Q. Okay, go ahead.                             10   sector very well, and I'm working on getting a
11       A. Thereafter I worked five years with         11   license there. I'll see if that succeeds.
12   my father in the taxi industry.                    12       Q. Is there some kind of course? How
13       Q. In the taxi industry?                       13   do you get a license?
14       A. Managing the day-to-day operations          14       A. There are two stages. One is
15   of the medallions. It wasn't always leased to      15   either you're a salesman and then you become a
16   third parties like it is now.                      16   broker, or if you have had or you still have
17       Q. Any other jobs you've had?                  17   real estate holdings or interests in real estate
18       A. I had a restaurant at one time.             18   holdings, you can get a broker's license without
19       Q. You owned a restaurant?                     19   having to go through the steps of being a
20       A. Yes.                                        20   salesman and then going to brokerage.
21       Q. When was that?                              21       Q. Where are you in that process?
22       A. '93 to 2000.                                22       A. In the beginning stages.
23       Q. You sold that business?                     23       Q. Have you gotten any income from the
24       A. We got out of the business. It was          24   real estate business other than when you were
25   not profitable.                                    25   working with your father?
                                                                                         15 (Pages 54 - 57)
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                                                 Page 58                                                    Page 60
 1                 Ruben Elberg                             1                Ruben Elberg
 2       A. No.                                             2       Q. You used the name Pewzner, and
 3            MR. FORSTOT: We've gone about an              3   that's your sister?
 4       hour or so. Do you want to take a                  4       A. Tamara Pewzner, she's my
 5       five-minute break?                                 5   co-executor.
 6            MR. McCARTHY: That's fine.                    6       Q. And your sister?
 7            (A recess was taken.)                         7       A. Yes.
 8            (Subpoena duces tecum was hereby              8       Q. I just want to clarify something.
 9       marked as Plaintiff's Exhibit 3 for                9   Earlier I had asked you how much of the $250,000
10       identification, as of this date.)                 10   was left, still available to you, and you said
11       A. Weiling Management.                            11   about $4,000.
12       Q. Weiling, how do you spell that?                12            Now I just want to make sure I get
13       A. W-E-I-L-I-N-G, Management and the              13   the whole $350,000 amount that you borrowed.
14   principals are Rod and Steve Newman. I'm having       14   How much of that whole amount is left and
15   a problem with Napersay Management.                   15   available to you somewhere?
16            I'll tell you what it is. My                 16       A. $4,000.
17   sister negotiated the deal terms with Napersay        17       Q. So it's the same 4,000?
18   Management, and that was negotiated at $2,500         18       A. Yes.
19   per month, and all the funds were supposed to go      19       Q. So out of $350,000, 346,000 is out
20   into the Jerub account at Capital One.                20   the door, being used to do something?
21            Only a small portion, a third of             21       A. Yes.
22   those funds are going into the mutual account         22       Q. Being used to pay legal fees and
23   that my mother and I have, and the balance of         23   other things you testified about?
24   the money she redirected into another account         24       A. Yes, yes.
25   that I have no understanding or knowledge of          25       Q. Your deposition was originally
                                                 Page 59                                                    Page 61
 1             Ruben Elberg                                 1                Ruben Elberg
 2   where it is.                                           2   noticed for a subpoena of March 7th and you
 3             That is moneys that belong to                3   didn't show up. Why didn't you show up?
 4   Jerub, and I have personal liabilities, as I see       4        A. I had counsel communicating --
 5   her here, being challenged by Capital One.             5             MR. McCARTHY: Sorry, I don't want
 6             I just don't have the means to               6        him to disclose any communications he had
 7   litigate about every little thing with                 7        between his counsel and himself. Other
 8   everybody, you know what I mean. But I want to         8        than conversations, please do not state any
 9   be clear that there are funds that are being           9        communications you had with counsel.
10   diverted by Pewzner from Jerub that I have no         10             THE WITNESS: All right.
11   knowledge of where it's going.                        11        A. There was a demand that was sent to
12             So the full 2,500 that the lease            12   me, the response was supposed to be 2107, not
13   agreement was agreed to is not being deposited        13   2017. So the year was 2107, I don't know if it
14   into the account, and I don't know where the          14   was on the deposition or one of the other
15   money is going.                                       15   documents that you requested some response on
16        Q. How do you know that it's being               16   it. The date was 100 years later, so I just
17   diverted?                                             17   didn't think it was timely.
18        A. Because I looked at the account and           18             You weren't asking me to come at a
19   I see the amount that's being deposited, and          19   certain time and date. I don't remember which
20   it's not the full amount that we're supposed to       20   one of those documents was there, and I was not
21   get.                                                  21   ready for whatever reason and I'm here now.
22        Q. Do you see money going out of the             22        Q. It's your testimony under oath,
23   account?                                              23   sir, that because the date was 2107, you didn't
24        A. I just don't see the money coming             24   have to comply with the subpoena for 100 years?
25   in.                                                   25        A. No, that's not my testimony.
                                                                                              16 (Pages 58 - 61)
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                                              Page 62                                                Page 64
 1                 Ruben Elberg                        1                Ruben Elberg
 2        Q. So the date had nothing to do with        2       "Now, therefore, we command you to produce
 3   it, did it --                                     3       for examination on February 27, 2107, at
 4             MR. McCARTHY: Objection.                4       12:00 p.m., at the offices of Troutman
 5        Q. -- why you didn't show up?                5       Sanders LLP, 875 Third Avenue, New York,
 6             MR. McCARTHY: Objection.                6       New York 10022."
 7        Q. Is that right? You can answer.            7            I just want the record to be clear,
 8        A. I have nothing else to add.               8       and I also want the record to reflect at
 9        Q. Let me ask you once again. Why            9       this time that I've not been provided with
10   didn't you show up on March 7th, what was the 10          copies of Exhibits 1 or 2. I would ask if
11   reason?                                          11       I could see them.
12        A. I misunderstood the document. I          12       Q. Anyway, you see where I'm talking
13   really didn't understand that I had to come on a 13   about, the tax returns, do you see that?
14   certain date for some reason.                    14       A. Please refer to the paragraph,
15        Q. We've already had two exhibits           15   clarify what you're asking.
16   marked when you didn't show up, so we're going 16         Q. Number 1 at the bottom of the first
17   in sequence. This is Plaintiff's Exhibit 3,      17   page. Tell me when you're there. Are you
18   that's why it's 3 and not starting with 1.       18   there?
19             MR. FORSTOT: Do you have a copy 19              A. I'm reading. Could I have a
20        for counsel?                                20   moment, please.
21             MR. McCARTHY: I'll take it.            21       Q. Let me know when you're done. Have
22        Q. Exhibit 3 is a subpoena you were         22   you read Number 1? You're on the second page.
23   served with in this matter, and it requested     23       A. Yes, I have.
24   that you produce documents. Do you see that      24       Q. You understand it says tax returns,
25   document in front of you? Take your time and 25       federal and state for the years 2012 through
                                              Page 63                                                Page 65
 1               Ruben Elberg                         1                Ruben Elberg
 2   look at it. Have you looked at it?               2    2015 and 2016 if available, correct?
 3       A. Yes.                                      3        A. Yes.
 4       Q. And the date's right on that one,         4        Q. Did you produce your tax returns?
 5   right?                                           5        A. I believe I've supplied one tax
 6       A. No, that's the one 2107.                  6    return for 2012.
 7       Q. But you understood that that was          7        Q. You produced it in response to this
 8   just a typo, correct?                            8    subpoena?
 9       A. No.                                       9        A. I don't know if it was this
10       Q. You really didn't?                       10    subpoena or some other subpoena, but I supplied
11       A. I understood what it said here.          11    it.
12       Q. I'm sorry?                               12        Q. Why else would you have supplied
13       A. I understood what it said here.          13    it?
14       Q. Did you read that you were supposed 14             A. Again --
15   to produce documents, did you understand that 15          Q. You supplied a tax return in
16   part?                                           16    response to this subpoena; is that right or not?
17       A. I read this document, yes, I did.        17        A. I don't know if it was to this
18       Q. Now, let's go through this. First,       18    subpoena. But I had discussions, again, I don't
19   tax returns, federal and state for the years    19    want to get into my discussions with my legal
20   2012 through 2015 and 2016 if available, do you 20    counsel, and I gave whatever I had available.
21   see that?                                       21        Q. You didn't think you had to wait
22            MR. McCARTHY: I just want to, I        22    100 years for that?
23       know it's part of the record, but I just    23        A. (No verbal response.)
24       want to ask, the paragraph you're reading   24        Q. You didn't think you had to wait
25       from starts with a sentence that says:      25    100 years for that, right?
                                                                                        17 (Pages 62 - 65)
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                                               Page 66                                                    Page 68
 1               Ruben Elberg                             1                Ruben Elberg
 2        A.  I supplied what I had.                      2        A. My wife did not work, she started
 3        Q.  Which was a tax return for 2012?            3   working the last year now.
 4        A.  Yes.                                        4        Q. In 2017?
 5        Q.  What about 2013, where is that tax          5        A. 2016.
 6   return?                                              6        Q. How much income did she make in
 7        A. We spoke before that I didn't, I             7   2016?
 8   don't know if I mentioned it, that I did not         8        A. She went to an accountant. She's
 9   file starting 2013 because there was a problem       9   dealing with that. I don't know exactly what's
10   with my accountant not giving me the proper         10   with her, if she's going to be filing alone or
11   documentation to file the tax returns.              11   what's the situation with that.
12             So when I wanted to file 2013, I          12        Q. Before that, you filed joint
13   needed the K-1s for three corporations that I       13   returns with your wife?
14   had interests in, and he said he already had        14        A. Yes.
15   filed it. I told him I wanted it corrected, and     15        Q. You got an extension from both the
16   he would not cooperate.                             16   State of New York and the federal government to
17             So at that point I didn't want to         17   file your 2013 and 2014 taxes?
18   file tax returns saying when I found out that       18        A. I got a 2013 extension, but not the
19   there was a problem with his filing, I didn't       19   years after.
20   want to continue filing with a mistaken filing      20        Q. When was the 2013 extension until?
21   that my father, he claims my father guided him      21        A. I don't have the date, I don't
22   to file in the past, Fred Roth claims he guided     22   remember.
23   him to file in the past. So 2013 on, I have not     23        Q. Is it still extant?
24   filed anything.                                     24        A. No, it's not.
25        Q. No federal tax returns?                     25        Q. You just didn't file a tax return?
                                               Page 67                                                    Page 69
 1                Ruben Elberg                            1              Ruben Elberg
 2        A. Nothing.                                     2       A.   I did not file it yet, no.
 3        Q. No state tax returns?                        3       Q.   And 2014, did you get an extension
 4        A. Nothing.                                     4   for that?
 5        Q. Because of that reason?                      5       A. There was nothing to file in those
 6        A. I just wanted to clarify when I              6   years, I had no income to file.
 7   file, I want to file it properly. There is a         7       Q. Number 2 on Page 2, records of all
 8   dispute about these corporations and all the         8   banks accounts owned by you for the years 2012
 9   income. I don't know how to file, who is the         9   to date. So have you produced all bank accounts
10   income to if it's not going to be decided in my     10   from 2012 to date?
11   favor or not. I don't know exactly what's going     11       A. Yes, I gave whatever I had.
12   on, and I did not file based on that.               12       Q. For all bank accounts?
13        Q. Is there any other reason you               13       A. What do you mean all bank accounts?
14   haven't filed tax returns for 2013, '14, '15 or     14       Q. All bank accounts opened by you.
15   '16?                                                15       A. Personal, are you talking about
16        A. '14, '15 and '16, there was no              16   personal?
17   income, I had no income, so I had really nothing    17       Q. Anything in your name.
18   to file, I wasn't working. But '13 to '14, I        18       A. In my name personally, yes.
19   had what to file, you know, and this was the        19       Q. In any way, I don't care.
20   correction that I needed done, and my only          20       A. Yes.
21   accountant would not cooperate to do whatever       21       Q. You have?
22   was right.                                          22       A. Yes.
23        Q. '14, '15 and '16 you had no income?         23       Q. How many did you produce?
24        A. I haven't worked.                           24       A. Whatever I had, I produced.
25        Q. Your wife didn't work in 2016?              25       Q. Do you know?
                                                                                            18 (Pages 66 - 69)
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                                                Page 70                                                   Page 72
 1                Ruben Elberg                             1               Ruben Elberg
 2        A. Please clarify what you're asking.            2       A. Yes.
 3        Q. How many statements did you produce           3       Q. What did you do to find all the
 4   for how many months for how many accounts?            4   records at home or ask the bank for your account
 5        A. I don't remember the amounts of               5   statements to comply with this subpoena?
 6   statements, but whatever I had, I produced.           6       A. I gave you whatever I had handy and
 7             MR. FORSTOT: That's it?                     7   I supplied it.
 8             MR. BUCK: That's it.                        8       Q. One month from this year, that's
 9             MR. FORSTOT: Mark that as the next          9   what you had, those are the only account
10        exhibit.                                        10   statements you have in your house, bank
11             (Eight pages of Capital One bank           11   accounts?
12        statements were hereby marked as                12       A. The ones I had recently.
13        Plaintiff's Exhibit 4 for identification,       13       Q. That's not my question. Those are
14        as of this date.)                               14   the only account statements you have in your
15        Q. Take a look at Exhibit 4, and let            15   house for your bank account, right?
16   me know when you're done.                            16       A. I have to check what else I have.
17        A. Yes.                                         17       Q. What did you do to check to make
18        Q. Are those pages, those are the bank          18   sure you didn't have any others?
19   statements you produced, correct?                    19       A. What do you mean what did I do to
20        A. It's some of the bank statements.            20   check?
21   I also submitted, if I'm not mistaken, Capital       21       Q. Did you look throughout your house,
22   One accounts possibly for the taxi corporations.     22   did you ask somebody else to look, what did you
23   If I did not, I have them, and what I described      23   do?
24   before, there is over $100,000 in three              24       A. The ones I had handy, I gave you.
25   accounts, I can supply those accounts also.          25       Q. When you say handy, what does that
                                                Page 71                                                   Page 73
 1                Ruben Elberg                             1             Ruben Elberg
 2       Q. What period of time are the                    2   mean?
 3   statements in your hand from?                         3        A. Without having to make a major
 4       A. January 14th to February 13th.                 4   search. Whatever I had available at that time,
 5       Q. Of what year?                                  5   I gave you.
 6       A. 2017.                                          6        Q. Did you make any search besides
 7       Q. For what account?                              7   finding whatever you had handy?
 8       A. Ruben Elberg.                                  8        A. I wouldn't say I made an extensive
 9       Q. It's one account?                              9   search, no.
10       A. Yes.                                          10        Q. Did you ask the bank for any copies
11       Q. Do you remember how you testified             11   of statements from 2012 through today?
12   earlier that it's not a problem to get copies of     12        A. No.
13   these accounts, statements, do you remember          13        Q. Why not?
14   that, do you remember that?                          14        A. I didn't understand that you wanted
15       A. Do I remember what?                           15   all the bank accounts from 2012 to now.
16       Q. Testifying that it's not a problem            16        Q. Look at Page 1, sorry, Page 2,
17   for you to get copies of account statements for      17   Number 2, records of all bank accounts owned by
18   your accounts.                                       18   for the years 2012 to date, do you see that? Is
19       A. Okay.                                         19   that confusing to you?
20       Q. You have them either at home,                 20        A. No, it's not.
21   correct; is that correct?                            21        Q. You mentioned a Bank of America
22       A. I don't know if I have all the                22   account, where are those statements?
23   records.                                             23        A. I should have some at home.
24       Q. Or you could easily ask the bank              24        Q. Why didn't you produce those?
25   for them, right?                                     25        A. Because it's a business account.

                                                                                            19 (Pages 70 - 73)
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                                               Page 74                                                    Page 76
 1                Ruben Elberg                        1                  Ruben Elberg
 2       Q. Is that in your name?                     2           A. So other than my home, there's
 3       A. It's a business name.                     3       business interests that I have that I discussed
 4       Q. Any other accounts besides the            4       with you before.
 5   account you produced one month's statement for 5             Q. Any other properties?
 6   and the Bank of America account that you have 6              A. No.
 7   any control over?                                7           Q. You never had an interest in the
 8       A. No, I don't have any other moneys         8       Crescent Street in Queens property, is that what
 9   elsewhere in any other bank.                     9       you own through those?
10            MR. McCARTHY: Can I just make one 10                A. Yes.
11       clarification and I'll just say, Exhibit 4  11           Q. Have you had a car since 2012?
12       speaks for itself, and the number of months 12           A. Yes.
13       that are covered within the bank account    13           Q. Do you still have a car?
14       statements.                                 14           A. Yes.
15            I think the testimony for the          15           Q. Did you produce ownership documents
16       questioning has been one month, but I       16       for owning that car?
17       believe there are multiple months.          17           A. I believe so. I notified -- I
18            MR. FORSTOT: How many months are 18             could be mistaken, a 2004 Honda Odyssey.
19       there?                                      19           Q. You own that, do you pay any loans
20            MR. McCARTHY: January 14, 2017 to 20            on that?
21       February 13, 2017, two pages. February 14, 21            A. No, no loans.
22       2017 to March 13, 2017, two pages. October 22            Q. How much is the mortgage, the two
23       15, 2015 to November 13, 2015, four pages, 23        mortgages on your house?
24       and these are all Capital One bank account 24            A. There is one mortgage that is being
25       statements.                                 25       paid which is $2,600, and the other mortgage,
                                               Page 75                                                    Page 77
 1                Ruben Elberg                            1                Ruben Elberg
 2             MR. FORSTOT: Thank you.                    2   the interest is due when the loan is due.
 3        Q. Have you owned any securities since          3        Q. Let me clarify. What I meant is
 4   2012?                                                4   how much is the entire amount of each mortgage.
 5        A. No.                                          5        A. There's $400,000 for, approximately
 6        Q. Any investments in mutual funds,             6   $400,000 on the first mortgage, and there's
 7   stocks, bonds, anything?                             7   another 420,000 roughly by the time it's due on
 8        A. No.                                          8   the second mortgage.
 9        Q. Number 4 on the subpoena, you see            9        Q. The second mortgage you told me
10   that second page there, Number 4, records           10   about, that's from the loans you got in 2016,
11   reflecting the ownership and/or transfer by you     11   correct; is that correct?
12   of any interest in real property, do you see        12        A. Yes.
13   that?                                               13        Q. The $400,000 mortgage --
14        A. Yes.                                        14        A. It's 350 plus the interest that is
15        Q. You own your house, correct?                15   being accrued that's going to be due upon --
16        A. Yes.                                        16        Q. That's not my question. The first
17        Q. You say you own it with your wife;          17   mortgage, the first lien.
18   is that right?                                      18        A. Approximately 400, 390 maybe,
19        A. Yes.                                        19   something in that range, 390 to $400,000, I
20        Q. Since 2012, have you owned any              20   don't remember exactly.
21   other real estate besides that property?            21        Q. Who holds that mortgage presently?
22        A. I have partnership interests in             22        A. Nation Star Mortgage is servicing
23   RORE and RREM, and I have partnership interests     23   it. It's probably Wells Fargo, if I'm not
24   in Royal CP and Royal HI.                           24   mistaken, but I could be wrong.
25        Q. Got it.                                     25        Q. Are you in default on that?

                                                                                            20 (Pages 74 - 77)
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                                                 Page 78                                                    Page 80
 1                 Ruben Elberg                             1            Ruben Elberg
 2        A. No.                                            2        Q. But she transferred title to you?
 3        Q. What's the source of payment of the            3        A. What do you mean she transferred
 4   2,600 you said per month, where do you get the         4   title?
 5   money to pay that?                                     5        Q. You owned the house after that.
 6        A. My wife works, my daughters help me            6        A. No, she did not give me the house.
 7   a little bit, my, one of my other daughters,           7   She wanted me to refinance, to refinance to have
 8   Shterna had lent me over $30,000, a substantial        8   current payments on the house.
 9   amount of money over a period of time to help me       9        Q. You are the hundred percent owner
10   pay my mortgage and, you know, some money that I      10   of the house from 2003 to 2016?
11   borrowed, if I'm short, completed whatever the        11        A. That was not the intent, that was
12   balance is.                                           12   not her intent. She did not give me the house
13             But I didn't want to default on my          13   as a gift, no.
14   home. I just don't want my credit to go bad           14        Q. So when you look at the real estate
15   because I've paid Capital One, I've been with         15   records, who is the owner from that period of
16   Capital One for years.                                16   time?
17             I paid Capital One all along when           17        A. It was under my name because the
18   my father was alive, and I never defaulted on         18   mortgage was under my name, but I'm telling you
19   anything, and I never had any bankruptcies or         19   that she never gave me the house as a gift, no.
20   anything in my life.                                  20        Q. And you only put her name on the
21             The only thing, when my father              21   title after you had already defaulted to Capital
22   passed away and my sister started causing all         22   One, correct?
23   this trouble, and it's at a point that it's           23        A. I don't think so. I corrected the
24   unbearable. So this is what I'm facing right          24   deed. I don't think so, but I can check the
25   now unfortunately.                                    25   record. That was a deed correction clearly.
                                                 Page 79                                                    Page 81
 1                Ruben Elberg                              1               Ruben Elberg
 2       Q. You used to own the address, I'm                2        Q.   When did you do that?
 3   sorry, the property at 1523 President Street in        3        A.   I don't remember the date. I have
 4   your own name, correct?                                4   to check.
 5       A. No, it was initially in my wife's               5        Q. In fact, it was in September of
 6   name alone when we purchased it. It was in 1999        6   2016, wasn't it?
 7   or 2000, we purchased it and it was in my wife's       7        A. Again, I can't tell you the date.
 8   name alone, it was Yocheved Michaelashvilli, it        8   If you have the date, then you know for sure. I
 9   was under her name alone.                              9   can't tell you, I would have to check.
10            What happened in 2003, there was             10        Q. Do you know how much the house is
11   some financial difficulties and we had delays in      11   appraised for, how much you could sell it for?
12   payments on the mortgage, so my wife could not        12        A. No.
13   renew the mortgage. So she asked me to put it         13        Q. Do you think you have equity over
14   on my name and put her on the title as well when      14   and above the two mortgages in the house?
15   I get the refinancing done because I had good         15        A. I don't know. I would have to
16   credit, so I did that.                                16   check.
17            But I never really corrected the             17        Q. Sorry, when were the financial
18   deed to add her to the name, and then I added         18   troubles that you said your wife had or there
19   her name because it originally was hers and mine      19   were financial troubles, I forget how you put
20   together.                                             20   it, that caused her to transfer the title to
21       Q. You're saying she owned the house?             21   you?
22       A. Totally, her father gave her the               22        A. It was 2003, 2004, I don't remember
23   money to buy the house.                               23   exactly.
24       Q. And she gave it to you in 2003?                24        Q. When did the financial troubles
25       A. 2003 I refinanced it, yes.                     25   end, if they did, that allowed you to put her
                                                                                              21 (Pages 78 - 81)
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                                             Page 82                                               Page 84
 1               Ruben Elberg                         1                Ruben Elberg
 2   name back on?                                    2        Q. And on Page 3 of this document, you
 3       A. I don't understand the question,          3   list the President Street address, correct?
 4   why are you insinuating I had financial          4        A. Yes.
 5   troubles?                                        5        Q. And you list it as 100 percent
 6       Q. Why did you transfer -- maybe I           6   owned by you, right?
 7   misunderstood your testimony. Why did she        7        A. That's an error.
 8   transfer the title from her name to your name,   8        Q. But you list it as 100 percent
 9   why did that happen?                             9   owned by you, correct?
10       A. She had late payments on the             10        A. I didn't fill this out.
11   mortgage, and basically we wanted to refinance 11         Q. You signed this document, right?
12   the house because I don't know if the payment 12          A. Yes.
13   was coming due or I don't know exactly. I don't 13        Q. You wouldn't have signed a document
14   remember the reason why.                        14   you thought was incorrect, would you?
15            And when she tried to get the          15        A. I didn't notice this. This is an
16   refinancing, she did not have the proper income 16   error.
17   or information, so she asked me to put it on my 17        Q. The purpose of that financial
18   name and put her on and refinance because I had 18   statement was what?
19   better credit.                                  19        A. We were trying to get financing for
20       Q. When you say add her on, what does 20         Royal HI Hotel Holdings LP.
21   that mean?                                      21        Q. Who is we?
22       A. To put her together with me.             22        A. My father, Jacob Elberg and I.
23       Q. On what?                                 23        Q. So looking at the same page on that
24       A. On the deed.                             24   personal financial statement, you have the value
25       Q. But you didn't do that?                  25   of your house as 900,000, right?
                                             Page 83                                               Page 85
 1                Ruben Elberg                       1                Ruben Elberg
 2       A. I did not do that, I failed, yes.        2        A. Yes.
 3       Q. For quite awhile, years?                 3        Q. Again, it says 100 percent owned by
 4       A. Whatever time, but I corrected it.       4    you, correct, that's what it does say, right?
 5   In my mind, I corrected it. When the time came, 5        A. It's an error. I didn't fill this
 6   I corrected it.                                 6    out. I signed it hoping that whatever the
 7       Q. You didn't think about it?               7    office manager filled out was correct, but it
 8       A. There was no need for it. I don't        8    seems that she made an error. She actually
 9   remember what was the reason why, but I failed 9     never asked me that question.
10   to do whatever she had asked me, and I put her 10             (Capital One Bank Personal
11   back on.                                       11        Financial Statement was hereby marked as
12            MR. FORSTOT: Mark that.               12        Plaintiff's Exhibit 6 for identification,
13            (Alma Bank Personal Financial         13        as of this date.)
14       Statement was hereby marked as Plaintiff's 14        Q. Here's Exhibit 6. Take a look at
15       Exhibit 5 for identification, as of this   15    that.
16       date.)                                     16        A. Yes.
17       Q. Here's Exhibit 5. Why don't you         17        Q. This is also a personal financial
18   look at that and let me know when you're done. 18    statement from you, correct?
19       A. Yes.                                    19        A. Yes.
20       Q. This is a personal financial            20        Q. That's your handwriting?
21   statement that you gave to Alma Bank in 2012, 21         A. No, Mark Gallagher's handwriting,
22   correct; is that correct?                      22    Capital One's handwriting.
23       A. Yes.                                    23        Q. You signed it?
24       Q. You signed it, right?                   24        A. Yes.
25       A. Yes.                                    25        Q. Mark Gallagher's handwriting. Who
                                                                                      22 (Pages 82 - 85)
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                                              Page 86                                                  Page 88
 1               Ruben Elberg                            1                Ruben Elberg
 2   is Mark Gallagher again?                            2       A. I remember when someone asks me
 3       A. Capital One Bank's lawyer.                   3   about my home ownership, yes, she did not ask
 4       Q. Why would he fill this out with all          4   me. I don't remember her asking me, honestly.
 5   this information, how did he get that               5            (Wilshire State Bank Personal
 6   information?                                        6       Financial Statement was hereby marked as
 7       A. I don't remember if Brenda gave it           7       Plaintiff's Exhibit 7 for identification,
 8   to him, our office manager or I did. The same       8       as of this date.)
 9   person that filled this out probably gave him       9            (Capital One Bank Personal
10   this information.                                  10       Financial Statement was hereby marked as
11       Q. This is 2013, correct?                      11       Plaintiff's Exhibit 8 for identification,
12       A. Yes.                                        12       as of this date.)
13       Q. The year after the last one we just         13       Q. Just look at 7 and 8 also, they are
14   looked at, right?                                  14   both financial statements. Let me know when
15       A. Yes.                                        15   you're finished.
16       Q. You signed it?                              16       A. Yes.
17       A. Yes.                                        17       Q. Each one of those you signed,
18       Q. And on here it's got the $900,000           18   correct; is that right?
19   real estate value, right?                          19       A. Yes.
20       A. Yes.                                        20       Q. And they also list your real
21       Q. That's your house?                          21   property value at 900,000, correct?
22       A. Yes.                                        22       A. Yes.
23       Q. That's not half your house, that's          23       Q. Those are references to your house,
24   the entire house, right?                           24   correct?
25       A. Again, it was in my name so I               25       A. Yes.
                                              Page 87                                                  Page 89
 1                Ruben Elberg                           1               Ruben Elberg
 2   listed it as a home that I own, but it wasn't       2       Q. There's nothing in there that says
 3   all mine. And I don't know that I had to add my     3   anything about your wife's interest in the
 4   wife to this personal financial statement to        4   house, right?
 5   show her interest in the house. I was not aware     5       A. No, but it was solely owned by her.
 6   of that information.                                6       Q. Now it's solely owned by her?
 7        Q. In fact, you filled out a number of         7       A. It was solely owned by her in the
 8   personal financial statements where you list the    8   beginning.
 9   value of your house as $900,000, and you never      9       Q. But she transferred it to you,
10   once mention anything about your wife's            10   right?
11   interest, do you?                                  11       A. She transferred, as I explained, it
12        A. I didn't think that I had to, you          12   was done for refinancing.
13   know, outline that information here. What          13       Q. It may have been for a purpose, but
14   Brenda wrote is definitely a mistake. I did not    14   she transferred the title to you, is that right
15   tell her to put in 100 percent owned by me, and    15   or not? You don't know, do you?
16   here --                                            16       A. That was not her intent, to give
17        Q. Why would she have done that then?         17   the house to me, if that's what you're
18        A. I don't know.                              18   insinuating.
19        Q. She guessed?                               19       Q. I'm not asking her intent. Did she
20        A. She guessed, I guess.                      20   transfer the title of the house to you?
21        Q. She didn't ask if you and your wife        21       A. Not really, no. She allowed me to
22   owned it?                                          22   refinance the house, but she didn't mean to give
23        A. She did not ask me, no.                    23   me the house as a gift, no.
24        Q. How do you know, do you recall the         24       Q. You're under oath. Is it your
25   conversations from 2012?                           25   testimony that the title, the name on the deed
                                                                                         23 (Pages 86 - 89)
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                                              Page 90                                                   Page 92
 1                Ruben Elberg                           1                Ruben Elberg
 2   for your house was never solely in your name?       2   one that says you're the hundred percent owner;
 3        A. No, that's not my testimony.                3   is that correct?
 4        Q. What is your testimony, was it ever         4        A. That was in error. I did not type
 5   solely in your name?                                5   that in.
 6        A. Yes, there was a period of time it          6        Q. You also signed other financial
 7   was solely in my name.                              7   statements that we've seen that are exhibits
 8        Q. And before that, it was solely in           8   here that has the value of the house at $900,000
 9   your wife's name, is that what you're saying?       9   listed, right, that you gave to banks to show
10        A. Yes.                                       10   your assets, correct?
11        Q. So she transferred on the deed at          11        A. Yes, those are financial
12   least, whatever her intent, I'm not asking you     12   statements, yes.
13   about that, she transferred it solely to your      13        Q. And you didn't say anything about
14   name, correct?                                     14   that you owned it jointly with your wife,
15        A. That's what your understanding is,         15   correct?
16   yes.                                               16        A. I didn't think that was part of the
17        Q. How did your name get on the deed          17   discussion.
18   all by itself if not from her?                     18        Q. Why is your name on the deed if
19        A. I did not buy the house from her.          19   it's her house and she owned it and you didn't
20   I did not pay her to give, put the house in my     20   pay for it, why is your name still on the deed
21   name. I did not pay her a penny, you can prove     21   at all?
22   that there's no transaction of funds.              22        A. Why is my name on the deed?
23        Q. She transferred it to you during           23        Q. Why didn't you transfer it back to
24   times of financial problems that she was having;   24   her?
25   is that right?                                     25        A. We own it jointly.
                                              Page 91                                                   Page 93
 1                Ruben Elberg                           1                Ruben Elberg
 2       A. She did not make payments. She               2        Q. So she did transfer it with the
 3   could not refinance, so she allowed me to           3   intention to give you title?
 4   refinance the house, and I was supposed to put      4        A. She did not intend that.
 5   her back on the house, I did not.                   5        Q. So I ask you again, why is your
 6       Q. During financial problems with your          6   name still on there is my question.
 7   wife, she transferred the house solely to your      7        A. Because we're husband and wife and
 8   name, correct?                                      8   it's both of our house.
 9             MR. McCARTHY: I'm going to object.        9        Q. Were you husband and wife before
10       Q. Is that correct or not?                     10   she transferred the house to you?
11             MR. McCARTHY: It's a                     11        A. Yes.
12       mischaracterization of his testimony.          12        Q. How long were you -- when were you
13       A. I said what I have to say. I don't          13   married?
14   have anything to add about what transpired, and    14        A. We bought the house in '99.
15   I'm being clear as to what happened. You're        15        Q. We bought the house?
16   trying to get to something that I don't            16        A. I mean, my wife's father gave her
17   understand what you're trying to get to.           17   the money to buy the house, so together we
18       Q. The facts are that she transferred          18   bought the house in '99. And since then, until
19   the title on the deed to your name and then --     19   2003, my wife had it in her name under Yocheved
20       A. I can't explain.                            20   Michaelashvilli, that's her maiden name.
21       Q. And then in 2016, you put her name          21            And in 2004, as I told you, there
22   back on it; is that correct?                       22   was a time that she did not make payments on
23       A. I did a correction.                         23   time and we needed to refinance, so we did it
24       Q. And in the meantime, you signed             24   under my name in order to be able to have a
25   financial statements that referred to, at least    25   creditworthy borrower.

                                                                                          24 (Pages 90 - 93)
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                                                 Page 94                                                     Page 96
 1              Ruben Elberg                                1             Ruben Elberg
 2            MR. McCARTHY: Just one thing,                 2   that?
 3       Ruben, just for purposes of this particular        3       A. Yes.
 4       question, he asked you when you were               4       Q. What is that, why did you get
 5       married.                                           5   $104,000, what year was that?
 6       A. Oh, I apologize.                                6       A. What year is this, this is 2012.
 7            MR. McCARTHY: Can you provide when            7       Q. Right. So in the 12 months before
 8       you got married?                                   8   you signed this, you had $104,000 in consulting
 9       A. We got married in 1985, I                       9   income?
10   apologize.                                            10       A. I was working for JEB Management
11       Q. Do you have Exhibit 5 still in                 11   and running the real estate. Now, the income
12   front of you, the personal financial statement        12   was for my portion of the cabs above and beyond
13   to Alma Bank?                                         13   Jacob's management fees that he was taking.
14       A. Yes.                                           14            He was running JEB Management, my
15       Q. Fred Roth is listed as your                    15   two and a half cab corporations, and some of
16   accountant. Is he still your accountant?              16   that income that was above and beyond our
17       A. No, he's not anymore.                          17   mortgages that we had to pay for, you know, the
18       Q. When did he stop being your                    18   Capital One mortgages that we had, I was getting
19   accountant?                                           19   the additional funds that was coming from JEB
20       A. In 2013 when he stopped, when I                20   Management.
21   found out he made major mistakes, and I just          21       Q. This says it's for consulting.
22   could not continue with him.                          22       A. There was a portion for like a W-2,
23       Q. Do you have an accountant today?               23   a small portion of it, and that was for
24       A. No, not yet.                                   24   consulting, but most of the money was coming
25       Q. Have you had any accountant since              25   from is the taxicab companies from JEB
                                                 Page 95                                                     Page 97
 1             Ruben Elberg                                 1                Ruben Elberg
 2   2013?                                                  2   Management.
 3        A. No.                                            3       Q. You have, a little higher on the
 4        Q. You filed for the extension                    4   page it says other investments, $703,000, you
 5   yourself?                                              5   see that?
 6        A. No, he did it, and since then he               6       A. Yes.
 7   gave me tax returns without the proper                 7       Q. What's that?
 8   information. And once I found out there were           8       A. I had purchased a ferry boat in N.
 9   mistakes, I didn't want to file it.                    9   Minue, Inc., the company I mentioned before, and
10        Q. On Page 2 of that document, it says           10   I paid $126,000 for that. And originally it was
11   you have a Citibank checking account with $5,000      11   destined to go back into service at Governors
12   in it at that point, do you see that?                 12   Island because it was the former ferry boat for
13        A. Yes.                                          13   Governors Island, but that got delayed in
14        Q. What became of that account?                  14   negotiations with the operator and did not come
15        A. We transferred it to Capital One.             15   to fruition.
16   We don't have that anymore.                           16            So we were looking for other uses,
17        Q. Who is we?                                    17   potentially to do a dockside for a food and
18        A. I did.                                        18   beverage operation, restaurant, catering.
19        Q. When did you transfer it to Capital           19       Q. What was the source of the
20   One?                                                  20   $800,000?
21        A. When I opened up at Capital One. I            21       A. I said I paid 126,000.
22   don't remember the date.                              22       Q. I'm sorry, you said you paid
23        Q. Do you remember the year?                     23   $126,000 for it?
24        A. No.                                           24       A. That's what I said.
25        Q. 104,000 consulting income, you see            25       Q. That was your money?

                                                                                              25 (Pages 94 - 97)
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                                                 Page 98                                                Page 100
 1                Ruben Elberg                              1                Ruben Elberg
 2       A. That was my money.                              2       A. No. I wouldn't put any money into
 3       Q. Where did you get that money?                   3   it because it's just not productive. Even if I
 4       A. It was either 1998, my father and I             4   had money, I wouldn't put money into it.
 5   were thinking of investing in this venture, and        5       Q. Do you own it personally now?
 6   my father had refinanced and he had given me the       6       A. No, it was purchased in the
 7   money to invest in this venture at that time.          7   corporate name.
 8       Q. Your father gave it to you?                     8       Q. What's the status of that
 9       A. He gave it to me, and he was                    9   corporation?
10   supposed to be a partner in this deal, but for        10       A. What do you mean?
11   whatever reason, he never came through in doing       11       Q. Is it in good standing, is it an
12   whatever the original plans were with it.             12   operating company?
13       Q. You owned a ferry boat through N.              13       A. There was no income in the company,
14   Minue, Inc.?                                          14   so there's really nothing happening with it.
15       A. Yes.                                           15       Q. But it's still an existing
16       Q. You were the sole shareholder of N.            16   corporation?
17   Minue, Inc.?                                          17       A. I have to check that, if it was, if
18       A. Yes.                                           18   it was dissolved or it's still an existing
19       Q. Where did you get the value for the            19   corporation. I don't know, I haven't checked it
20   ferry boat for $703,000 in 2012?                      20   recently.
21       A. When there was, you see a ferry                21       Q. Did you take any steps to dissolve
22   boat is like, it's an asset. If you have a use        22   it?
23   for it and if it has a need, it has a value. If       23       A. No.
24   it has no need, it's a liability, right.              24       Q. Do you think it may be dissolved
25            So at one time there was about 450           25   for failure to pay some tax or anything?
                                                 Page 99                                                Page 101
 1               Ruben Elberg                          1                     Ruben Elberg
 2   or $500,000 offer from people at Governors        2             A. I don't think so. I didn't have
 3   Island, the operators of the other vessel, the    3        anything that I had to pay that I didn't pay,
 4   sister vessel at Governors Island.                4        no.
 5            And for some reason, we were told        5             Q. So why do you think it may be
 6   that it was worth in the $700,000 range by other 6         dissolved?
 7   people who knew the market. We took basically 7                 A. I just don't know.
 8   what we were told by others in the industry, but 8              Q. You're the sole shareholder of that
 9   we had a range of a $400,000 offer.               9        company, right?
10            And now we have no offers, so it's      10             A. Yes.
11   just been sitting, unfortunately rotting away    11             Q. Does the owner of the dock have
12   until we get a use service for it.               12        some kind of lien on the ferry?
13       Q. Where is it?                              13             A. Yes, he owed all this money, so he
14       A. Staten Island.                            14        tells me all the time, the ferry is not worth
15       Q. Do you have to pay any money to           15        anything, it's mine practically. He jokes
16   keep it up?                                      16        around with me.
17       A. Yes, I owe the dock alone over            17                 There's no official lien. We're on
18   $100,000 just in dockage fees.                   18        friendly terms. He knows when things turn
19       Q. Any other amounts you need to pay         19        around for me I'll pay him. I don't have any
20   to keep it up?                                   20        interest in hurting him. When I had money, I
21       A. No.                                       21        paid whatever I could. I've never hurt the man.
22       Q. Just dockage fees?                        22             Q. You never what?
23       A. Yes.                                      23             A. I never hurt the man.
24       Q. There's no maintenance or anything        24                 MR. FORSTOT: Why don't we, since
25   that needs to be done on it?                     25             lunch has been brought in. We're going for
                                                                                           26 (Pages 98 - 101)
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                                                   Page 102                                                Page 104
 1               Ruben Elberg                       1                         Ruben Elberg
 2       about an hour, let's take a break.         2              industry.
 3            MR. McCARTHY: Before we go off the 3                     Q. Right, my question was, you said --
 4       record, there's a Social Security number   4                       MR. McCARTHY: Yashiva University
 5       that hasn't been redacted. Whenever we do 5                   at Avenue M.
 6       the final exhibits, can we just redact it  6                  A. And East 14th Street. It was
 7       for future use?                            7              called BTA, but it was part of Yashiva
 8            MR. FORSTOT: I guess. All right.      8              University.
 9       You brought your own lunch, I understand. 9                   Q. What did you study when you were
10            THE WITNESS: Yes.                    10              there?
11            MR. FORSTOT: And you want to grab 11                     A. It's a high school.
12       something?                                12                  Q. Oh, it's a high school?
13            MR. McCARTHY: Sure.                  13                  A. It's called the Yashiva University
14            MR. FORSTOT: There's a breakout      14              High School.
15       room if you want to sit in there. We can  15                  Q. I didn't understand that. Did you
16       go off the record.                        16              graduate?
17            (Whereupon at 12:09 p.m. a luncheon 17                   A. No.
18       recess was taken.)                        18                  Q. Did you get a GED?
19            (1040 U.S. Individual Tax Return     19                  A. I don't think so. I don't have, I
20       for 2012 was hereby marked as Plaintiff's 20              didn't need it for what I was doing.
21       Exhibit 9 for identification, as of this  21                  Q. How long did you work in the
22       date.)                                    22              jewelry or gem industry?
23            AFTERNOON SESSION                    23                  A. '77 to '88.
24            (Time noted: 12:46 p.m.)             24                  Q. So 11 years. Did you work at one
25       Q. Tell me about your education.          25              place?
                                                   Page 103                                                Page 105
 1            Ruben Elberg                                     1                Ruben Elberg
 2       A.  What specifically would you like to               2        A. No, initially I worked in 30 West
 3   know?                                                     3   -- I don't remember. EGL, EGL which was
 4       Q. Did you go to school?                              4   European Gem Labs, and I started out being
 5       A. Yes.                                               5   trained as a gemologist, and then I became -- it
 6       Q. Tell me about where you went, when                 6   was an important position there.
 7   and for how long?                                         7        Q. A what?
 8       A. Until 13 years old I was, actually,                8        A. I took an important position there.
 9   until 11, 1973, so until 12 I was in Russia, and          9   I was practically managing.
10   we came here in 1973, approximately.                     10        Q. Managing what?
11            I went to Yashiva here in Ocean                 11        A. The gem lab.
12   Parkway. Then I went to Yashiva University on            12        Q. What do they do at a gem lab?
13   Avenue M thereafter.                                     13        A. They examine diamonds and colored
14            MR. McCARTHY: Yashiva University                14   stones and they give certifications.
15       you said?                                            15        Q. When did you leave there?
16            THE WITNESS: Yes.                               16        A. So three years, I would say '80,
17       Q. Did you get a degree?                             17   '81.
18       A. No.                                               18        Q. What did you do after that?
19       Q. What did you study at Yashiva                     19        A. '81 I became, I worked, I had Ruben
20   University?                                              20   Elberg Diamond Company.
21       A. I didn't get a degree. I left to                  21        Q. You had your own diamond company?
22   go to 47th Street to start learning gemology and         22        A. I was trying to broker and, you
23   mineralogy to become a gemologist in 1977, early         23   know.
24   on, you know, in my life. And I became a                 24        Q. How long did you do that for?
25   gemologist and started working in the jewelry            25        A. '88, until 1988.
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                                               Page 106                                                 Page 108
 1               Ruben Elberg                              1               Ruben Elberg
 2       Q. So from '77 through '88, you were              2   own business, Ruben Elberg Diamonds, how much
 3   in the gem industry. From '77 to '81, you             3   was your income?
 4   worked for EGL?                                       4       A. I don't remember. It was too many
 5       A. EGL.                                           5   years ago.
 6       Q. And then from '81 to '88 you had               6       Q. No idea?
 7   your own business; is that right?                     7       A. I don't remember it now.
 8       A. Yes, sir.                                      8       Q. A million dollars?
 9       Q. How much was your salary,                      9       A. No.
10   approximately, when you left EGL?                    10       Q. Half a million?
11       A. I don't remember the details now.             11       A. No, less, less.
12       Q. Do you have any idea, a vague idea            12       Q. 10,000, you have no idea?
13   even of how much you were making, do you know        13       A. It wasn't, it was somewhere in what
14   how much?                                            14   I was making in 2012 tax return or slightly
15       A. Is it relevant here in this case?             15   more, maybe. I can't remember, I can't say that
16            MR. McCARTHY: If you have a                 16   for sure.
17       recollection.                                    17       Q. Do you own any gems today?
18       A. I don't have a recollection.                  18       A. No, I wish I did.
19       Q. For somebody with your experience,            19       Q. Any kind of precious stones or
20   how much do you think you could make if you got      20   metals at all?
21   a job in that area in the gem business today?        21       A. No.
22       A. I don't know. I have not been in              22       Q. Does your wife?
23   the industry since '88, so I don't know.             23       A. No.
24       Q. Why did you stop being a broker of            24       Q. She doesn't even have a ring?
25   your own business Ruben Elberg Diamonds, was         25       A. An engagement ring, but that's it.
                                               Page 107                                                 Page 109
 1               Ruben Elberg                              1                Ruben Elberg
 2   that what it was called?                              2       Q. Do you have a safe deposit box
 3       A. Yes.                                           3   anywhere?
 4       Q. Why did you stop doing that?                   4       A. No.
 5       A. My father said it's not enough when            5       Q. Does your wife?
 6   you help someone with money, I need physical          6       A. No.
 7   help. So I'm not managing here with the, you          7       Q. Do any of your children have safe
 8   know, taxi business, and I need you to come in        8   deposit boxes that you're aware of?
 9   and help me physically.                               9       A. No, not that I know of. I should
10            Because all along, from '77 to '88,         10   not say that. Not that I know of.
11   I was helping him financially to get started in      11       Q. This is Exhibit 9. Exhibit 9 is
12   the yellow cab business, and when anything,          12   your 2012 tax return, correct?
13   either to buy some of these corporations or          13       A. Yes.
14   whether they were, you know, short in his            14       Q. You just referenced that as a way
15   day-to-day operations, because he was always         15   to understand how much you were making when you
16   trying to grow, refinance and grow, that was the     16   had your own business. So does that mean you
17   approach.                                            17   were bringing in roughly $86,000?
18            And he was always short in making           18       A. Maybe more, maybe more in diamonds.
19   payments, so I had income from the diamonds, and     19   I don't remember, I can't tell you for sure.
20   I was trying to help as much as I could              20       Q. Is this the last tax return you
21   throughout these years.                              21   filed?
22       Q. How much did you make annually if             22       A. Yes.
23   you could estimate from your --                      23       Q. What is the source of the
24            MR. FORSTOT: Let me withdraw that.          24   miscellaneous compensation of $86,000 reflected
25       Q. The last year you worked in your              25   in this tax return?

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                                              Page 110                                                  Page 112
 1               Ruben Elberg                             1                Ruben Elberg
 2       A. I told you that JEB Management had            2   difference between Surrogate's, is it the same
 3   income from my cabs, he was giving me                3   thing?
 4   distribution from my three cab companies.            4        Q. I'm using the wrong term.
 5       Q. You said he was giving, who he is?            5   Surrogate's Court, the court that handles your
 6       A. My father through JEB Management,             6   father's estate.
 7   because I told you all the moneys were going         7        A. Correct.
 8   into JEB Management, and JEB Management was the      8        Q. And you're also involved in a
 9   co-guarantor for these corporations.                 9   litigation in Supreme Court with your sister?
10            So all the money was being funneled        10        A. Yes. Unfortunately, when she took
11   from the taxi companies into JEB Management, and    11   control of these companies --
12   it was all being distributed, mortgage payments     12             MR. McCARTHY: I'm going to, Ruben,
13   and whatever had to be done. I don't know           13        to move it along, just answer the question
14   exactly, I can't tell you for sure how the money    14        that he's asking.
15   was being paid to Capital One.                      15        A. Just repeat the question.
16            I believe my father was                    16        Q. I'm trying to get the lay of the
17   transferring moneys from one account to another.    17   land on how many litigations you're involved
18   He always had computer transfers that he was        18   with where the issue is who owns the medallion
19   always doing, that's how he handled it.             19   companies and whether you're entitled to a
20       Q. Did that amount stay the same, did           20   certain percentage interest in the entities that
21   it vary from year to year?                          21   own the real estate where the hotels would be
22       A. It ranged between 80 to $100,000,            22   developed. Tell me how many litigations are
23   in that range, 120 maybe, I don't remember.         23   involved there.
24       Q. That has now ended because of what           24        A. There is one litigation in the
25   you testified before --                             25   Surrogate's Court or maybe the second one she
                                              Page 111                                                  Page 113
 1               Ruben Elberg                             1                Ruben Elberg
 2        A. Yes.                                         2   started to remove me as an executor, that's in
 3        Q. -- the dispute you're having with            3   the Surrogate's.
 4   your sister about whether the estate owns those      4            And then in the Supreme Court,
 5   medallion entities or you do?                        5   there was one litigation that was not started by
 6        A. Yes.                                         6   me, it was started by the limited partnership
 7        Q. Just to be clear, is there a court           7   partners against me and the LLCs.
 8   order that says you can't be involved in the         8            And there was a decision by Ramos,
 9   management at this point of those companies?         9   Judge Ramos to give control to a person that's
10        A. I don't want to misstate anything,          10   not a member nor a partner in the limited
11   but to my recollection, they said I can act as      11   partnerships, and that's on appeal with Judge
12   an executor, but not as a sole decision maker,      12   Catterson in the First Department.
13   if I understand correctly the court's               13            So those are the cases I can point
14   recommendation or decision, whatever it was         14   to right now, other than the Capital One
15   then.                                               15   judgment that I have that's on a personal
16        Q. The court, meaning the Probate              16   guarantee.
17   Court?                                              17        Q. Right. I'm just talking about the
18        A. Yes, the Probate Court.                     18   cases where there's, where it may be decided
19        Q. Let's talk about the litigations            19   whether you have an interest or not in these
20   then. You're involved in a litigation in            20   entities or whether the estate is the right
21   Probate Court; is that right?                       21   party, and then whether you have a 40 percent
22        A. I don't know.                               22   interest as a Class D member of these LLCs,
23            MR. McCARTHY: Surrogate's Court.           23   sorry, LLPs.
24        Q. Sorry, Surrogate's Court.                   24        A. I have to clarify that.
25        A. Forgive me, I don't know the                25        Q. Sure.
                                                                                        29 (Pages 110 - 113)
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                                                 Page 114                                                   Page 116
 1                Ruben Elberg                               1                Ruben Elberg
 2       A. In the Surrogate's Court, my sister              2   executor to pay legal fees to protect the
 3   moved for a turnover proceeding. Initially,             3   interests of Merill and Spindle. When I started
 4   Jacob was the sole owner of the taxicab                 4   using funds to pay for legal fees, she moved to
 5   corporations and Jacob was also the sole owner          5   remove me as an executor for spending moneys
 6   of RORE and RREM.                                       6   that don't belong to me. Those are the
 7            If you remember when I said before             7   litigations in the Surrogate's Court, and that's
 8   that the yellow cabs that took the loans to             8   the status, to my understanding.
 9   RORE, capital contributions or loans to RORE,           9        Q. What has to be done to move that
10   RORE and RREM are the sole owners of everything.       10   forward to a decision? I assume you're anxious
11   There is no new limited partnerships that I'm          11   to get a decision on that, aren't you?
12   going to describe in a second.                         12        A. I am, and I just changed my legal
13            So having said that, she said the             13   team, and I'm trying to get resolutions on these
14   Class C interest is all owned by Jacob, there is       14   issues.
15   no 60/40. She claims the same thing in the             15        Q. You said you changed your legal
16   limited partnership litigation as well.                16   team, what do you mean?
17            So there's documentation, many                17        A. I had a single practitioner who was
18   documents on the level of RORE and RREM, that's        18   devoted and hard working, but he had limits. He
19   where the money actually went, and she actually        19   told me, he was a friend --
20   did not deposit those moneys into the RORE and         20             MR. McCARTHY: Don't discuss what
21   RREM accounts, she took it to the estate account       21        you discussed with him. Just again, answer
22   which is also inappropriate. That was not the          22        the question as was asked.
23   intent of the Judge when he gave her that power.       23        Q. So did you replace -- who was the
24       Q. So in the Probate Court --                      24   sole practitioner?
25       A. It's an LLC litigation about the                25        A. Levi Heubner.
                                                 Page 115                                                   Page 117
 1               Ruben Elberg                                1               Ruben Elberg
 2   LLC ownership.                                          2       Q. You said he's still giving you
 3        Q. In the Probate Court?                           3   advice even though he's no longer your counsel
 4        A. In the Surrogate's Court.                       4   on the case; is that right?
 5        Q. The Surrogate's Court. In the                   5       A. I still talk to him because he's a
 6   Surrogate's Court, what is the status of the            6   friend, and he might be representing me in other
 7   litigation? And what I mean by that, you know,          7   things now.
 8   do you have any hearings coming up, is there a          8       Q. Who is representing you now in the
 9   trial coming up, how and when is it going to be         9   Surrogate's Court?
10   decided who owned these entities?                      10       A. Abrams Fensterman.
11        A. Pewzner moved that I should move               11       Q. Are there any court dates coming up
12   for a turnover proceeding on these assets. The         12   in that case?
13   Judge said that I've shown prima facie evidence        13       A. I don't have the records of that in
14   of my 40 percent ownership and the taxicab             14   front of me, but there's an appeal and a
15   ownership. So she has to come and on law prove         15   decision of the judge in Surrogate's Court, and
16   why I don't own these interests, and she has not       16   I don't know if that's, how that's going to play
17   pursued it further.                                    17   out. I'm not sure on the status.
18            But what she had done, she moved              18            I'm still in discussions with my
19   then to remove me as an executor for using some        19   legal team how to proceed there, but we just
20   of the proceeds from two taxi corporations to          20   gave an answer on the removal as an executor, we
21   pay for legal fees.                                    21   just responded to the documents.
22            The Judge allowed me to pay, to act           22       Q. As of now, you're still an
23   as an executor and pay whatever fees are               23   executor?
24   necessary as an executor.                              24       A. Yes.
25            So I said, I'm using my power as an           25       Q. As of this point, you don't know if

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                                                Page 118                                                Page 120
 1                Ruben Elberg                              1                Ruben Elberg
 2   there is some end of sight by date when all this       2       A. I can't discuss our plans right now
 3   will be resolved in the Surrogate's Court?             3   with our new team, but there are plans to get
 4       A. In the Surrogate's Court, it's                  4   that resolved sooner rather than later.
 5   difficult to say because that looks like a more        5       Q. It's in your interest to get it
 6   complicated issue, but that's where all the            6   resolved as soon as possible, right?
 7   money is, and that's where she claims that only        7       A. Yes.
 8   Class C exists.                                        8       Q. Because right now you have no
 9            So whether it's Class C or not,               9   income from them?
10   moneys were borrowed from taxi corporations. It       10       A. You see my position, I'm telling
11   was put in the capital contributions into these       11   you the truth.
12   companies, and it has to be paid back to these        12       Q. You have to, you're under oath. So
13   taxi corporations. She took it, she didn't even       13   the issue of who owns or who did own or --
14   deposit it.                                           14            MR. FORSTOT: Let me withdraw that.
15            She represented in front of Ramos            15       Q. The issue of whether you were
16   that she was going to put it in escrow, the           16   entitled to a 40 percent interest in these
17   whole amount of the sale she was going to put in      17   entities that own the real estate --
18   escrow. She didn't do that.                           18       A. The LLCs.
19            She took the money and she put it            19       Q. The LLCs, LLPs?
20   into three, four different places, I don't know       20       A. There are two levels. Let's be
21   where exactly and how she distributed the money.      21   clear. The LLC is very important because she
22   I don't have the full detailed information. But       22   claims that's the company that owns everything,
23   she did not -- her lawyer made clear                  23   right, and that's where the money was supposed
24   representations in front of Judge Ramos that she      24   to go but it didn't go there. It went into an
25   was going to put it all in escrow until this          25   estate account, it went into another account.
                                                Page 119                                                Page 121
 1               Ruben Elberg                               1               Ruben Elberg
 2   issue is resolved.                                     2        Q. Understood. Is that also something
 3            She paid a substantial amount of              3   that the Surrogate's Court is being asked to
 4   money in taxes. She put moneys in escrow with          4   decide?
 5   the buyer because the buyer -- the seller, the         5        A. Yes.
 6   buyer actually, he feels he's got exposure             6        Q. Is there a date, either through
 7   because the Judge never gave her authority to          7   argument or trial, argument on a motion or trial
 8   sell the Class D interests and she sold it             8   by which that is going to be decided?
 9   anyway.                                                9        A. I don't have a clear date, and I
10            Also, we submitted a dissent letter          10   don't know.
11   not to allow her to sell the Class C interest or      11        Q. That's also in your interest to get
12   Class D as a 40 percent interest holder, and she      12   if resolved quickly, right?
13   went ahead and did it anyway.                         13        A. Yes.
14       Q. Let's put that on hold for a                   14        Q. Although not quite as pressing
15   minute. I just want to get back to Surrogate's        15   because it's not the income, it's something in
16   Court for a second. So in Surrogate's Court, is       16   addition to what used to be the income you lived
17   it your understanding that the issue of who owns      17   on?
18   the medallion entities we've been talking about       18        A. Correct.
19   today, is that one of the issues that the             19        Q. So there's also the issue of
20   Surrogate's Court will decide, is being asked to      20   whether you should be continued as co-executor,
21   decide?                                               21   right?
22       A. She asked them to decide that, yes.            22        A. Yes.
23       Q. As far as you know, there is no                23        Q. Are there any other issues that you
24   date by which that's going to happen, either          24   are aware of that would be decided by the
25   through an argument on a motion or a trial?           25   Surrogate's Court?
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                                              Page 122                                                   Page 124
 1                Ruben Elberg                            1                Ruben Elberg
 2       A. No.                                           2   in the real estate portion of the estate.
 3       Q. Assuming you lose on all these                3       Q. Because you're one of four?
 4   things and it's decided that the estate is the       4       A. Four siblings on Jacob's will.
 5   real owner of the medallion entities and you're      5       Q. That's supposed to happen, that
 6   not entitled to 40 percent of the proceeds of        6   doesn't have to await your mother passing away?
 7   the sale, you're still a beneficiary of the          7       A. It does.
 8   estate; is that right?                               8       Q. It doesn't?
 9       A. Yes.                                          9       A. It does.
10       Q. That's your understanding?                   10       Q. Oh, it does. So if you lose on
11       A. Yes.                                         11   everything, you're not going to be entitled to
12       Q. And you would be sharing pro rata            12   anything until that happens?
13   with how many people?                               13       A. Right.
14       A. Four.                                        14       Q. That's your understanding?
15       Q. So there is a distribution that you          15       A. Yes.
16   think would be made to you?                         16       Q. Now, let's move to the Supreme
17       A. Yes.                                         17   Court action before Justice Ramos. What, if
18       Q. It doesn't all go to your mother?            18   anything, is still to be decided there?
19       A. Well, the will was structured in             19       A. There was a decision by Judge Ramos
20   such a manner that the yellow cabs, only the        20   that was decided that Pewzner becomes the
21   cabs that my father owned goes to my mother.        21   manager of the LLCs, the limited partnerships,
22            There are two trusts that were             22   and she has to do -- he gave her broad rights
23   created simultaneously, one is a Q-tip trust,       23   without admitting in the court, the first thing
24   and I don't remember the second name, but it's      24   he said, I didn't read the papers, I thought
25   in the will, it's in the papers.                    25   this was settled.
                                              Page 123                                                   Page 125
 1                Ruben Elberg                            1               Ruben Elberg
 2            The real estate holdings were               2            And then after 15 minutes of
 3   supposed to be going into trusts, and the income     3   discussions, he just says, you guys are
 4   from the real estate, 60 percent interest income     4   hindering the sale, and he gave her, he signed
 5   of those real estate assets were supposed to go      5   the order without reading the papers.
 6   to my mother. And after 120 of hers, goes to         6       Q. That was an issue of whether she
 7   the four siblings, the 60 percent is split four      7   could go ahead with the sale or not?
 8   ways.                                                8       A. Correct.
 9       Q. After 120, what does that mean?               9       Q. Is there anything else in that case
10       A. After she passes on. I hope she              10   other than that, any other issue to be decided
11   lives for a long time.                              11   that you know of?
12       Q. So you wouldn't actually be                  12       A. That case was brought by Crabapple,
13   entitled to any distribution until after that?      13   Inc. who was an EB-5 capital bundler who sued
14       A. From the 60 percent interest, no.            14   RORE or RREM for performance to make capital
15   From the 40 percent interest, definitely right      15   contributions to the limited partnerships that
16   away.                                               16   Crabapple invested $4 million of EB-5 funds
17       Q. Right away, okay.                            17   brought in from China.
18            MR. McCARTHY: Are you claiming             18            There was another lawsuit, there
19       that the 40 percent interest is within the      19   was another $50 million in another bank trying
20       estate or that you own it personally?           20   to build these projects, and those investors
21            THE WITNESS: Personally.                   21   wanted us to perform, and Pewzner decided in
22       Q. The premise of my question is you            22   Jacob's lifetime she was not interested in these
23   lose on everything. I'm just trying to find out     23   projects to go forward.
24   if you're still entitled to something.              24            Definitely when he's not here, she
25       A. Yes, there's a 25 percent interest           25   had some say. She did everything she could to

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 1                Ruben Elberg                               1                Ruben Elberg
 2   try to undermine the projects.                          2   accept the service for these nationals, but
 3        Q. My question is, is there anything               3   James Catterson is waiting for a decision in the
 4   else to be decided on that case other than the          4   First Department before he decides whether to go
 5   issue that has been decided?                            5   forward with the declaratory judgment or whether
 6        A. If it's overturned and brought back             6   it's going to be a different circumstance after
 7   to Ramos, then this litigation, I guess, would,         7   it's overturned.
 8   depending on what the decision is, would go back        8        Q. I see. So in that case that you
 9   and be adjudicated either by Ramos or by someone        9   brought, there were two separate cases, one in
10   else.                                                  10   which there's an appeal and then the one you've
11        Q. Has that been fully briefed up at              11   brought by complaint. One's waiting the appeal
12   the Appellate Division?                                12   outcome, and the other is stayed pending the
13        A. Yes.                                           13   appeal?
14        Q. Has there been an argument that's              14        A. There's no stay. He wants to see
15   happened?                                              15   if the appeal is done, then he can make a
16        A. It's happened already and we're                16   decision on how to proceed, because it doesn't
17   waiting.                                               17   make sense to pursue it until he gets the final
18        Q. When was the argument?                         18   decision in the First Department.
19        A. On the 25th, not last month. I                 19        Q. Is there anything else, any other
20   believe it was April 25th maybe.                       20   litigations where those issues are at issue?
21        Q. Any other litigation going on that             21        A. No, not to my recollection. It's
22   will affect the issue of your ownership in the         22   been so overwhelming that if I forget something,
23   medallion entities or the LLCs?                        23   forgive me, it's not intentional.
24        A. No. I'm sorry, Judge Catterson                 24        Q. Mr. Catterson, what firm is he at?
25   brought a, I misspoke, I don't know if it's            25        A. He's at Kaye Scholer.
                                                 Page 127                                                   Page 129
 1                Ruben Elberg                               1               Ruben Elberg
 2   turnover, declaratory judgment in front of Ramos        2       Q. Kaye Scholer, right. Are you able
 3   and the Class D does exist. She claims it does          3   to pay them their fees?
 4   not exist.                                              4            MR. McCARTHY: Objection.
 5             And the partners, everybody claims            5       A. I owe them money.
 6   it exists except her. She has no knowledge, she         6       Q. Have you paid them?
 7   is not involved, but she claims it does not             7       A. Yes.
 8   exist.                                                  8       Q. You've already paid them?
 9        Q. That's a lawsuit that you started?              9       A. Yes.
10        A. That's a lawsuit we started with               10       Q. You say you owe them. There's an
11   Judge Catterson.                                       11   outstanding bill that you owe?
12        Q. What does that mean?                           12       A. Yes.
13        A. He is a former judge, I call him               13       Q. Do you know whether they're not
14   Judge Catterson, he is James Catterson.                14   going to go forward with your case because of
15        Q. But he's acting as a lawyer?                   15   that?
16        A. He's acting as a lawyer, correct.              16            MR. McCARTHY: Objection.
17   He went in for a declaratory judgment, and             17       A. They're going forward, so far
18   Pewzner and the other party tried to avoid             18   they're going forward.
19   service on the EB-5 investors.                         19       Q. Has there been any settlement
20             So Judge Ramos said you received             20   discussion between you and your sister about the
21   the benefit in my court in your favor, and now         21   issue of who owns the medallion entities or
22   you're trying to say that you're not going to          22   whether you have an interest in the LLCs?
23   accept the service for these foreign nationals         23            MR. McCARTHY: Objection.
24   who cannot be found and they're elsewhere.             24       A. There have been many discussions.
25             So Judge Ramos forced Crabapple to           25   Unfortunately, she was committed to settle
                                                                                            33 (Pages 126 - 129)
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                                                Page 130                                                 Page 132
 1                Ruben Elberg                              1            Ruben Elberg
 2   things, and then she, at the last minute she           2       A.  No, the EB-5 bundler.
 3   undermines the deal. Whatever settlement comes,        3       Q.  Oh, the bundler.
 4   she undermines it. And I've tried at least             4       A.  Who actually worked the deal.
 5   five, six times.                                       5       Q.  Crabapple?
 6       Q. Are there any discussions ongoing               6       A.  Crabapple, NYC MRC West Lead
 7   now?                                                   7   Capital.
 8            MR. McCARTHY: Objection.                      8       Q. So you think you have claims
 9       A. No.                                             9   against them?
10       Q. Other than Capital One and the two             10       A. That's for my legal team to decide,
11   mortgage holders on your house, do you have any       11   but I believe so.
12   other creditors, do you owe money to anybody          12       Q. Are you going to assert them soon?
13   else, you have the Yeshivas, right?                   13       A. We'll make that decision when we
14       A. I have many creditors, I can't even            14   get clarity on what's going on further.
15   think about them.                                     15       Q. How much do you think they owe you
16       Q. You have the law firms, who else?              16   or have harmed you by, how much money would you
17       A. I have many creditors. I don't                 17   seek from them?
18   have a settled head to remember all the details.      18       A. I don't have that number yet. I
19       Q. Do you have any plans to file                  19   have to decide that with my legal team.
20   bankruptcy?                                           20       Q. Any other claims against anybody
21       A. No.                                            21   else that you can think of?
22       Q. Have you considered doing so?                  22       A. No.
23       A. No.                                            23       Q. Whether you've asserted them or
24       Q. Do you have any claims against                 24   not.
25   anybody, any legal claims where you are seeking       25       A. No.
                                                Page 131                                                 Page 133
 1                 Ruben Elberg                             1               Ruben Elberg
 2   payment from them? I'm not talking about the           2       Q. Do you have any 401-Ks or IRAs?
 3   litigations between you and your sister. I'm           3       A. No.
 4   talking about whether you have asserted -- well,       4       Q. Any kind of retirement accounts?
 5   it could be your sister, where you've asserted         5       A. No.
 6   that somebody has broken a contract or harmed          6       Q. Have you set up any trusts?
 7   you in some way where you're suing them?               7       A. No.
 8        A. No, not yet.                                   8       Q. Have you transferred any assets
 9             MR. McCARTHY: Just to be clear,              9   that you haven't already talked about today?
10        other than the estate litigation and the         10       A. No.
11        litigation against your sister and other         11            MR. McCARTHY: On the prior
12        entities.                                        12       question, we're not talking about trusts
13             THE WITNESS: No, nothing.                   13       that were created under the estate, we're
14        Q. Well, you could have a claim                  14       talking about trusts he personally created?
15   against your sister if you feel she's harmed          15            MR. FORSTOT: Yes.
16   you.                                                  16       A. No.
17        A. I have not asserted those claims              17       Q. Have you in the last couple of
18   yet. I have many claims, but I have not               18   years made any charitable contributions?
19   asserted.                                             19       A. Practically none, very little, if
20        Q. Do you have any claims against your           20   any. I do the best I can, but nothing, nothing
21   sister?                                               21   much.
22        A. Against my sister, estate, the EB-5           22       Q. Have you transferred any assets to
23   purchasers who are actually inside buyers.            23   any family members in the last, say since 2012
24        Q. Are you saying you have a claim               24   that you can recall?
25   against the EB-5 investors, the people in China?      25       A. No.
                                                                                          34 (Pages 130 - 133)
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                                                 Page 134                                                  Page 136
 1                Ruben Elberg                               1               Ruben Elberg
 2       Q. Let's look back at the subpoena                  2        Q. I guess it's subsumed in that, but
 3   which is Exhibit 3. Now, there's a list as we           3   it's broader than that.
 4   started to look at on the second page, starting         4        A. Well, I don't own anything but what
 5   on the second page or the first page, and it            5   is in Number 5.
 6   goes on to the second page, you see that?               6        Q. Okay.
 7       A. Yes, I'm looking.                                7        A. So I believe those documents you
 8       Q. A list of documents. Hold on, let                8   have, and if you don't, I can supply those
 9   me get my copy. I've got it. Now, we talked             9   again.
10   about your bank account records.                       10        Q. When you looked for records, where
11            What I want to know is what you               11   did you look for Number 4 or 5?
12   did, what you've done or if more needs to be           12        A. Whatever documents I gathered from
13   done to be able to find any of these documents.        13   my business relationship with my father, and I
14   The bank account records you told me you still         14   had records in my office of those documents.
15   need to look in your house and to ask the banks        15        Q. In your office, where is your
16   for those records, right?                              16   office?
17       A. Yes.                                            17        A. In my home office. I don't have an
18       Q. What about Number 3, balance sheets             18   office now, I have a home office now. I work
19   or other financial statements reflecting your          19   out of my home.
20   assets and liabilities. What did you do to find        20        Q. What you did was you looked through
21   any of those documents?                                21   your --
22       A. I gave you whatever I had, I                    22        A. My documents and I supplied them.
23   believe so, but there's nothing else that I have       23        Q. You looked through documents in
24   that I can produce.                                    24   your home office, and did you look on your
25       Q. I want to know what did you do, did             25   computer?
                                                 Page 135                                                  Page 137
 1                Ruben Elberg                               1            Ruben Elberg
 2   you look in your house, do you have computers           2       A.  Yes.
 3   that have records?                                      3       Q.  You gave us everything you had
 4       A. Yes, I have a computer.                          4   there?
 5       Q. Did you search your computer                     5       A. Yes.
 6   records?                                                6       Q. Number 6, records reflecting the
 7       A. I can search further, but financial              7   sale of property located at 42-31 and 42-37
 8   statements and liabilities prepared for any             8   Crescent Street, is that subsumed in Number 5?
 9   reason from 2012 to date, I mean, you have some         9       A. Yes, she actually made, she took
10   here that you showed us.                               10   power from Judge Ramos, and she sold everything.
11       Q. Let me ask you this, did you go                 11   So since she got that power, I have no
12   through this list very carefully and make sure         12   knowledge.
13   you looked for everything that's on this list as       13            I have very little knowledge of
14   best you could?                                        14   anything that she did, whether the sale and
15       A. I did the best I could to supply                15   transfer of funds, and anything that she did,
16   you whatever I had.                                    16   transferred assets, I have very little records.
17       Q. So is there anyplace that you still             17            MR. McCARTHY: Could you clarify
18   need to look to find anything in Number 3?             18       who she is.
19       A. I don't think so.                               19            THE WITNESS: Tamara Pewzner.
20       Q. What about Number 4, records                    20       Q. You talked about earlier that she
21   reflecting your ownership or transfer of your          21   was supposed to set up escrow.
22   interest in real property or interest in any           22       A. Yes.
23   entity which owned real property?                      23       Q. Why don't you explain that.
24       A. Other than the assets that are                  24       A. If you look into the motion five, I
25   outlined in 5?                                         25   believe it was, in front of Judge Ramos, and

                                                                                           35 (Pages 134 - 137)
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                                             Page 138                                               Page 140
 1               Ruben Elberg                         1                  Ruben Elberg
 2   Pewzner's counsel Mr. Lehman made                2    whatever, right; is that right?
 3   representations to Judge Ramos that we're not    3         A. So let's start with the limited
 4   taking this money, we're going to sell this and  4    partnerships where there's a declaratory
 5   we're just going to put it in an escrow that's   5    judgment on the Class D, okay. That's the
 6   controlled by both of us.                        6    binding partnership that is in place now and
 7            And in the merger documents, she        7    effective. If it does get overturned, that will
 8   outlined it was supposed to go into an escrow    8    be the binding partnership.
 9   account by Chase, JPMorgan Chase.                9              There, if the sale happened, first
10            And I checked with JPMorgan Chase, 10        the sale proceeds would be distributed to, there
11   and they have no records of any escrow accounts 11    are four classes, Class A, B, C and D. Class A
12   opened.                                         12    are the EB-5 investors. Class B is the EB-5
13       Q. These are the proceeds from the          13    bundler. Class C was RORE and RREM, and Class D
14   sale of the real property?                      14    was Ruben Elberg.
15       A. Of the real assets, yes, of the          15              So the first sale that transpired,
16   limited partnership.                            16    the funds would have to go into the limited
17       Q. Was it the real property or the          17    partnerships and then distributed accordingly
18   entities?                                       18    how I just described.
19       A. Of the limited partnerships and of       19         Q. When you say the funds, does that
20   the LLCs which she claimed is the owner of      20    mean all proceeds or the net proceeds of the
21   everything.                                     21    original capital contributions?
22       Q. That sale is done and closed,            22         A. All proceeds would go into this
23   right?                                          23    company, and this company would pay its
24       A. She closed on it. She actually did       24    liabilities, this limited partnership would pay
25   a merger. It's really a sale, but she merged    25    its liabilities, and then each partner would get
                                             Page 139                                               Page 141
 1                Ruben Elberg                         1                Ruben Elberg
 2   the entities into a new corp that are called      2   their share of the proceeds.
 3   instead of Royal CP Hotel Holdings LP, Royal CP   3        Q. But that's a net number before the
 4   Two Hotel Holdings LP.                            4   partners get their share, right, it's net of
 5             And instead of Royal HI Hotel           5   liabilities?
 6   Holdings LP, Royal HI Two Hotel Holdings LP.      6        A. Can you clarify what you're saying?
 7   And the same thing, I think she did, Pewzner      7        Q. I understood that the proceeds that
 8   transferred the interests of the limited          8   would get distributed to these different classes
 9   liability companies into RORE Two and RREM Two 9      was net of return of original investments.
10   in the merger.                                   10        A. Correct.
11       Q. The estate, when you say she, she         11        Q. Is that correct?
12   was acting on behalf of the estate?              12        A. Correct.
13       A. Right.                                    13        Q. And there may be other liabilities.
14       Q. The estate doesn't retain any             14        A. Correct, correct.
15   interest in these entities, right?               15        Q. So those things have to get paid
16       A. Not to my knowledge. She was              16   first?
17   controlling the deal. She might have had side    17        A. Yes, that's what I said.
18   deals, I don't know, I can't say that.           18        Q. Then there's a net amount that is
19       Q. The proceeds of that were supposed        19   disputed to how that gets distributed.
20   to have been distributed to return the           20        A. Correct.
21   investments made by capital contributions made   21        Q. Do you know what that net amount
22   by the ultimate partners, and then the net       22   is, the total net amount was?
23   proceeds were supposed to be distributed, either 23        A. Well, there were two capital
24   to you and your father or to your father after   24   contributions, RORE contributed into Royal CP
25   payment of the EB-5 investors and Crabapple,     25   and Royal HI, and I believe it was about
                                                                                     36 (Pages 138 - 141)
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                                              Page 142                                                  Page 144
 1                Ruben Elberg                            1                Ruben Elberg
 2   $11,800,000 that RORE and RREM contributed into      2   sharing interest after the Class C gets paid.
 3   the limited partnerships, the Class C partner.       3        Q. Right.
 4            When those contributions were paid          4        A. So the Class C has to get paid
 5   back to RORE and RREM, and the $4 million            5   first.
 6   invested by the EB-5 Class A partners got paid       6        Q. Sixty percent?
 7   back, and the interest that was being charged by     7        A. No, $11.8 million, and then the
 8   the Class B partner for bundling these Chinese       8   profit sharing would be there.
 9   investors was paid to the Class B partner,           9        Q. So the 27 is not net of all return
10   right, the profit proceeds were split.              10   of capital?
11            If there was a consent on my part          11        A. No.
12   to sell my interest, which there was no consent,    12        Q. So it really, the profit is, if 27
13   neither by me nor by Judge Ramos to sell the        13   million is correct, you're talking about you're
14   Class D interest in the limited partnership,        14   fighting over 16 million roughly; is that right?
15   then the profits proceeds would be split 60/40      15        A. (No verbal response.)
16   between Class C and Class D interest.               16        Q. You have to answer orally.
17       Q. Understood. My question though is,           17        A. Yes.
18   what is that amount, the total amount, not the      18        Q. So the 40 percent would be 40
19   60/40, the total amount of net proceeds, the        19   percent of that, what that actual number is?
20   profit proceeds you called them.                    20        A. Yes, but again, I did not authorize
21       A. I don't know, I don't know what she          21   that sale, so I did not consent to that number
22   did so I can't say for sure. She took power and     22   or that sale.
23   did whatever she wanted, Pewzner.                   23        Q. I'm just trying to get an
24       Q. You have no idea?                            24   understanding --
25       A. I have no idea what she did.                 25        A. I don't know what she did. I don't
                                              Page 143                                                  Page 145
 1              Ruben Elberg                        1                      Ruben Elberg
 2        Q.  500 million, 50 million, two          2         want to put myself in a position where I agreed
 3   million?                                       3         to that number, I did not.
 4        A. I don't know what she did.             4             Q. I understand. I'm not suggesting
 5        Q. You don't know the magnitude at        5         you agreed to it. I just want to know the
 6   all?                                           6         number you're fighting over.
 7        A. I don't know what she did. I know      7                  You say that you did not, that she
 8   she claims to have gotten $27 million.         8         sold the Class D interests without your
 9        Q. Total?                                 9         permission, correct?
10        A. Total.                                10             A. Correct.
11        Q. And from there, that was used to      11             Q. Are you saying that there's an
12   repay capital contributions and liabilities?  12         actual document somewhere that says the Class D
13        A. No. Liabilities and EB-5 investors    13         interest is being sold?
14   and, liabilities, EB-5 investors and Class B  14             A. What the outrageous thing is that,
15   interests were above and beyond that number. 15          she, Pewzner and the EB-5 bundlers who actually
16        Q. So 27 was the net amount the estate   16         bought out under a third-party corporation, not
17   took in?                                      17         associated directly with them, they basically
18        A. That's what I would say.              18         claimed they're buying 100 percent of all
19        Q. Leaving aside whether that's where    19         interests of the limited partnerships.
20   it ultimately should go.                      20             Q. So they just made a general
21        A. That's what she insinuated in the     21         statement without --
22   merger documents and in front of Judge Ramos. 22             A. Without referring to Class D.
23        Q. So your claim is for 40 percent of    23             Q. And you think that was essentially
24   that number, whatever that actually is?       24         a clever way of making sure they got everything
25        A. Class D has a 40 percent profit       25         without admitting there was a Class D?

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 1                Ruben Elberg                            1                 Ruben Elberg
 2       A. That's what they thought.                     2   account holder or the place where the account
 3       Q. Okay, so back to where we started             3   is?
 4   this conversation. You said that it was              4        A. It's a corporation. So in order
 5   represented to Justice Ramos that that 16            5   for you to better understand the way the funds
 6   million, let's call it --                            6   transferred from the taxi corporations into the
 7       A. No, they said the total amount, all           7   LLCs, and then the LLCs were supposed to put
 8   the 27 million would go into.                        8   capital contributions to the limited
 9       Q. Are you disputing that the 11                 9   partnerships, so that's what I want to clarify.
10   million roughly contribution by RORE should not     10   I think it's important.
11   be taken off the top?                               11             MR. McCARTHY: To the extent you
12       A. I'm not disputing that. All I'm              12        can, you're writing, to the extent you can,
13   saying is, since I'm a Class C partner -- I'm a     13        please make it oral so it's in the record.
14   partner in RORE and RREM as well, those moneys      14        A. So the $11.8 million, let's just
15   are in dispute in the Surrogate's level.            15   call it $12 million, were borrowed from the taxi
16       Q. But you're not only asking for 40            16   corporations. 2.4 was borrowed from the three
17   percent for the Class D interest, you're saying     17   corporations that I'm, my judgment is on, 2.450,
18   that part of the RORE and RREM moneys should        18   and the balance was borrowed from my father's
19   also come into play?                                19   corporations.
20       A. Because that's where actual moneys           20             So these moneys were capital
21   were put from the taxi corporations to buy the      21   contributions to RORE and RREM and to Shefa.
22   real estate.                                        22   And these three companies, there is a chart that
23       Q. And so you're actually therefore             23   outlines exactly these three companies, who owns
24   disputing and claiming part of the 11 million       24   exactly how much interest in the limited
25   return?                                             25   partnerships.
                                              Page 147                                                   Page 149
 1                Ruben Elberg                         1                   Ruben Elberg
 2       A. I have to pay back Capital One.            2                These companies were supposed to do
 3       Q. That I agree with.                         3      capital contributions to the limited
 4       A. I'm not hiding here. I'm trying to         4      partnerships.
 5   pay everybody, but I'm facing a problem.          5           Q. Right.
 6       Q. Understood. I'm just trying to             6           A. So basically, she, Pewzner refused
 7   figure out what you're fighting over and what     7      to put it in escrow as she agreed as she
 8   your claim is.                                    8      represented in front of the Judge, and she put
 9             Back again to where we started this     9      it into an estate account, into a Shefa account.
10   discussion. You don't know where those moneys 10                   She left about $5 million with the
11   are right now, the $27 million?                  11      buyer because the buyer felt they had exposure
12       A. I have a vague idea.                      12      and they wanted to secure their situation. And
13       Q. What's the vague idea that you            13      she paid about five or $6 million in taxes, I
14   have?                                            14      don't know exactly how much.
15       A. Well, I'm an executor, so she put         15           Q. How do you know all this?
16   some of the moneys in the Chase accounts that is 16           A. This is information that I found
17   an estate account, and a small portion in a      17      out through friends who are close. But the two
18   Shefa account, that's another estate account,    18      accounts I have access to.
19   really it was part of the transaction, but she   19           Q. Friends that are close to who?
20   put it in that account as well.                  20           A. To the family.
21       Q. Shefa, what's that?                       21           Q. All right, so the only accounts you
22       A. Shefa Funding.                            22      have access to would be the escrow?
23       Q. Shefa Funding?                            23           A. The estate account and Shefa.
24       A. Yes, S-H-E-F-A.                           24      Those I found going through the bank and finding
25       Q. You're saying that's the name of an       25      those.

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 1                Ruben Elberg                              1                Ruben Elberg
 2       Q. Are you a signatory, do you have                2       that's your understanding.
 3   access to the Shefa account?                           3       A. They left it with the buyer.
 4       A. I am a signatory, but I am not                  4            MR. McCARTHY: Were you a party to
 5   allowed to write alone a check from that               5       the sale?
 6   account. She's actually written it alone, but I        6            THE WITNESS: No, I was not.
 7   cannot myself.                                         7       Q. And the rest?
 8       Q. Who else?                                       8       A. I was told she paid some taxes.
 9       A. Pewzner.                                        9       Q. Do you know if those were estate
10       Q. Just your sister?                              10   taxes?
11       A. Yes.                                           11       A. I don't know what they were for. I
12       Q. The Shefa account, that's not                  12   was not involved in the transaction so I can't
13   considered an estate account?                         13   say. I'm just giving you things that I have
14       A. It's part of the estate's assets.              14   gotten, you know, really not full.
15       Q. Because your father owned Shefa?               15       Q. The representation made to Justice
16       A. Yes.                                           16   Ramos that these would be in escrow, what was
17       Q. Did you own Shefa, part of Shefa?              17   supposed to be the terms of the escrow?
18       A. Shefa had received the moneys from             18       A. That we were both controlling of
19   the cab companies, from my refinancing, my            19   those interests, and that once upon a decision
20   father's refinancings, and that money was put         20   came up, that's what the LOI said, that's what
21   into Shefa in order for us to buy a note back         21   the merger document said, then we would
22   from Rosenthal & Rosenthal and to avoid paying        22   distribute it accordingly. But as she did, she
23   double taxes on -- when you borrow money and you      23   did not follow it.
24   pay tax, like two and a quarter or two and            24       Q. Have you gone back to Justice Ramos
25   three-quarter percent for loans that you take,        25   to complain that that wasn't done?
                                                Page 151                                                  Page 153
 1                Ruben Elberg                              1               Ruben Elberg
 2   there is a tax that you pay when you borrow            2       A. We had mentioned it in front of
 3   money. I don't remember exactly.                       3   Justice Ramos in one of our proceedings, and
 4            But we tried to avoid that by                 4   Justice Ramos, it was as if he didn't hear it.
 5   buying the note back through Shefa by paying           5            She had a former law clerk of
 6   double taxes when we borrow money again.               6   Justice Ramos working for her as a lawyer. She
 7       Q. Okay.                                           7   brought him on when she saw herself getting into
 8       A. It was supposed to be part of the               8   trouble. And she brought in a law clerk, his
 9   capital contributions, so I actually own the           9   name is Andrew Tulloch, T-U-L-L-O-C-H, and the
10   interest of Shefa, but I don't have documents         10   Judge trusted his former law clerk to a point
11   because my father and I trusted each other. We        11   where whatever he said, he did for them.
12   never nickel and dimed each other on paper, we        12       Q. Do you have a transcript where a
13   trusted each other. He passed away suddenly and       13   representation was made of the escrow?
14   this situation became out of hand.                    14       A. Yes.
15       Q. How much money is in the two                   15       Q. Has that been shown to Justice
16   accounts you do have access to, the estate            16   Ramos?
17   account and the Shefa account?                        17       A. I don't believe it was brought to
18       A. Around 15, $16 million.                        18   his attention to show him the transcript, no,
19       Q. The rest is --                                 19   but he was told in a hearing. Clearly I
20       A. I don't know.                                  20   remember, I was present at the hearing, that,
21       Q. Well, there's five million in the              21   the hearing after the sale -- I remember now.
22   hands of the buyer?                                   22            They tried to discontinue the case,
23       A. They gave the buyer. They left                 23   they said that now that everything is sold, they
24   that with the buyer.                                  24   wanted to discontinue the case.
25            MR. McCARTHY: Just to be clear,              25            We argued against discontinuing the

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                                                Page 154                                                 Page 156
 1               Ruben Elberg                               1                Ruben Elberg
 2   case, and one of the things we brought was that        2   5 or Motion 6 or 7. These last three motions,
 3   escrow was not established, and Judge Ramos did        3   there should be transcripts there, and there
 4   not even pay attention to it. And he                   4   should be definitely clear understanding.
 5   discontinued the case, he gave them what they          5             Look at the LOI, letter of intent,
 6   wanted.                                                6   it's spelled out clearly that the money would be
 7       Q. Even though it's not being held in              7   put in escrow. And it's also spelled out in the
 8   escrow, do you have an understanding of the            8   merger documents. It's spelled out in the
 9   circumstances under which it will be distributed       9   transcript, Lieberman made a representation in
10   in the future? Is it still the same thing when        10   front of the Judge.
11   there's a decision on what you're entitled to?        11        Q. Has there been any statement by
12       A. Can you clarify?                               12   your sister as to why it's not in escrow?
13       Q. The money is sitting there in an               13        A. Not to my knowledge.
14   estate account and a Shefa account. Do you            14        Q. Has there been any statement --
15   understand under what situation those moneys are      15        A. They ignored it. When we brought
16   to be distributed?                                    16   it up in front of Judge Ramos, they didn't even
17       A. Well, I can't say there will be any            17   address that issue.
18   distribution unless the court makes the decision      18        Q. Well, when you say in escrow, what
19   or she comes to a settlement, Pewzner comes to a      19   do you mean by that, are you talking about in a
20   settlement.                                           20   special type of account?
21       Q. Let's say the court makes a                    21        A. JPMorgan Chase was supposed to
22   decision. Is it your understanding that those         22   establish an account with all the money that's
23   moneys would then get paid to you from those          23   in dispute, and once there is a court decision,
24   accounts?                                             24   that the moneys would be distributed
25       A. I don't know what the court will               25   accordingly.
                                                Page 155                                                 Page 157
 1               Ruben Elberg                               1               Ruben Elberg
 2   decide. I hope there is a favorable decision in        2            She paid $5 million in taxes. She
 3   my interests.                                          3   left a substantial amount of money with the
 4       Q. Have you sent or anyone on your                 4   buyers. She put the estate and me in jeopardy,
 5   behalf sent any writings to your sister, a             5   and I don't know what else I can say, and all
 6   letter, anything saying the moneys have to be          6   the people we owe money to.
 7   held in escrow?                                        7        Q. Somewhere you gone to the
 8       A. We made the representations in                  8   Surrogate's Court to complain about the issue?
 9   court, they knew. They made the                        9        A. I can't discuss that matter, but we
10   representations, we made representations the          10   will be taking action, whatever is necessary in
11   money is not in escrow, and it was ignored.           11   due time.
12       Q. My question is, did somebody send a            12        Q. Well, back to my other question.
13   letter or any other writing on your behalf to         13   What kind of account did you expect it to be in,
14   your sister or her representatives saying this        14   one where you were a signatory?
15   money was supposed to be held in escrow?              15        A. Where I had control and she had
16       A. No. I can't say for sure, I don't              16   control for the total amount of money.
17   remember, possibly.                                   17        Q. But you both had to sign for any
18       Q. Or demand they be put into escrow?             18   money to come out?
19       A. I don't remember. I can't say for              19        A. Yes.
20   sure.                                                 20        Q. But that hasn't been done?
21       Q. Can I get a copy of that transcript            21        A. No.
22   where they made that representation to Justice        22        Q. What's your understanding of the
23   Ramos?                                                23   money in the hands of the buyers, when will that
24       A. It's online, it's in Motion 6.                 24   be released?
25   Wait, I apologize. It should be online, Motion        25        A. They're concerned that they have
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 1              Ruben Elberg                          1                    Ruben Elberg
 2   liabilities.                                     2      I'm not asking that.
 3       Q. I understand, but that could be           3          A. I don't want to deny my ownership
 4   just for a limited period?                       4      of RORE or, RREM.
 5       A. I would say for a year or two or          5          Q. I'm not asking you to that.
 6   three, I don't know.                             6          A. No, I just want to be clear.
 7       Q. You don't know?                           7          Q. Records reflecting ownership of any
 8       A. I don't have what she agreed with         8      vehicle, have you given us that?
 9   them, this is not with my consent.               9          A. I gave you the 2004 Honda Odyssey.
10       Q. Have you asked your sister, have         10          Q. You gave us documents on that?
11   you asked the buyer?                            11          A. I don't know if I did. If I
12       A. I have no communications with her.       12      didn't, I'll provide that I own the car.
13       Q. Have you asked the buyer?                13          Q. So you need to go back and find
14       A. I have no communications with them. 14           anything about any vehicles you've owned from
15       Q. Have you tried?                          15      2012 to date?
16       A. No, I have not.                          16          A. That's my only vehicle.
17       Q. Going back to Exhibit 3, the one in      17          Q. Records reflecting receipt of any
18   front of you, the subpoena. Now, Number 7, I 18         dividend, partnership distribution, or any other
19   assume you didn't look for anything because you 19      form of income, including salary from 2012 to
20   didn't have any securities?                     20      date. You gave us your 2012 tax return. What
21       A. I do not have any securities.            21      about any other documents showing, any other
22       Q. You never had any securities?            22      kind of income since then?
23       A. I can't say that.                        23          A. No, nothing.
24       Q. Not since 2012?                          24          Q. You've had zero, not one penny of
25       A. No.                                      25      income?
                                             Page 159                                                  Page 161
 1               Ruben Elberg                            1               Ruben Elberg
 2       Q. Did you give us --                           2       A. I told you I've been borrowing
 3       A. Excuse me, I might correct that,             3   money from my family, my children unfortunately,
 4   forgive me. Isn't a share ownership in a            4   and this $350,000.
 5   company a security?                                 5       Q. There have been no distributions
 6       Q. Yes.                                         6   out of the estate yet?
 7       A. Isn't that security? Well, then I            7       A. No.
 8   do have, I don't want to misstate anything or       8            MR. FORSTOT: Why don't we take a
 9   deny my ownership. I own 200 shares in Merill,      9       five-minute break and organize. I'm pretty
10   I own 200 shares in Spindle, and I own 100         10       much done, but I have a few more things.
11   shares in Jerub. So those are securities I         11       We'll go off the record.
12   believe I supplied you information on or you       12            (Whereupon, a discussion was held
13   have that information because Capital One is the   13       off the record.)
14   lender.                                            14       Q. Do you have to pay real estate
15       Q. Any other securities?                       15   taxes on your house?
16       A. Nothing other than that, no.                16       A. Yes.
17            MR. McCARTHY: Your ownership in           17       Q. How much is that per year?
18       the entities in Paragraph 5, if that is        18       A. It's part of the $2,600 payment.
19       deemed a security.                             19   Insurance and taxes are part of the $2,600
20       A. Is that, they are not in share              20   payment.
21   ownership, I don't know, is that deemed as         21       Q. The mortgage servicer --
22   securities?                                        22       A. Collects that.
23       Q. I think you could argue that.               23       Q. -- collects that and pays it?
24       A. What?                                       24       A. Yes.
25       Q. I think you could argue that, but           25       Q. As far as you know, that's all

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 1                Ruben Elberg                             1              Ruben Elberg
 2   up-to-date, no arrearages there?                      2   that?
 3        A. No.                                           3        A. Except Pewzner, nobody.
 4        Q. You're still co-executor of the               4        Q. Is it your understanding as a
 5   estate of your father, right?                         5   co-executor of the estate that those other
 6        A. Yes.                                          6   medallion entities are no longer part of the
 7        Q. The medallion entities that you               7   estate, they're owned by your mother?
 8   don't claim an interest in, are those all out on      8        A. They're owned by my mother, but if
 9   the street and working?                               9   the estate as a guarantor owes something, I
10        A. Yes.                                         10   think those medallions are part of the
11        Q. Bringing in an income?                       11   guarantee, because if they owed money -- I don't
12        A. Yes.                                         12   know if I'm understanding you correctly what
13        Q. Do you know how much that is in              13   you're asking me.
14   total per month?                                     14        Q. Those medallions are in individual
15        A. I want to address that. I'm not,             15   companies?
16   just like she took the interests of, Pewzner         16        A. Correct.
17   took the interest of the real estate and sold it     17        Q. The company equity is owned
18   without my permission, when my father passed         18   presently by the estate or your mother?
19   away, there was no borrower.                         19        A. My mother.
20            Since there was no borrower, I had          20        Q. I understand the guarantee
21   to right away, as an executor, I had the             21   obligation is still with the estate, of course,
22   obligation not to be in default with Capital One     22   is that what you're confusing?
23   to transfer the medallions to my mother's name.      23        A. I just don't want to be personally
24            When I did that, I'm facing now a           24   liable for anything for transferring those
25   problem with potentially Capital One coming          25   assets early to my mother, but I had to because
                                               Page 163                                                  Page 165
 1                Ruben Elberg                             1                Ruben Elberg
 2   after the estate that I'm an executor of for          2   I had no choice. There had to be a borrower or
 3   transferring those assets that were, that had         3   else those assets were in default. That's why I
 4   Jacob Elberg's personal guarantees of the loans       4   transferred it to my mother early on.
 5   of those assets.                                      5        Q. Maybe that's why there's a
 6            She's been spending all those                6   confusion. What do you mean there had to be a
 7   moneys for legal fees and all kinds of things         7   borrower?
 8   that I don't know. I don't know if she's paying       8        A. Capital One when my father died
 9   Capital One, I don't know what she's doing            9   sent us a letter stating that we are in default
10   there. My mother is --                               10   because there is no borrower and there's no
11            MR. McCARTHY: The question was, do          11   guarantor.
12       you know what the medallions are                 12             My father was the sole borrower and
13       generating.                                      13   guarantor on those medallions. So in order to
14       A. No, I have no control over those              14   have a face behind the loans, it was eventually
15   assets, that's the problem.                          15   supposed to be transferred to my mother.
16       Q. Are you aware of any of them that             16             So we transferred them to my mother
17   aren't actually on a car and producing income?       17   just to make sure there's a borrower and a
18       A. I don't have that information.                18   guarantor for those loans.
19       Q. Is your mother supervising that?              19             And I don't have control over what
20       A. My mother has a very poor                     20   transpires with expenditures, how Pewzner runs
21   understanding of the real reality with the           21   those companies.
22   documents and understanding loans. She believes      22        Q. So that transfer was something you
23   whatever she's being fed by my sister,               23   were involved with and you were okay with doing
24   unfortunately.                                       24   it at the time?
25       Q. I'm asking, is somebody overseeing            25        A. I consulted with Mark Gallagher who

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 1               Ruben Elberg                               1               Ruben Elberg
 2   is Capital One's attorney, and he advised me we        2       A. I don't recall right now. I'm just
 3   had to do this, so I followed his advice because       3   not settled, forgive me.
 4   I didn't want to be in default.                        4       Q. The entities, the medallion
 5       Q. Is there something he gave you in               5   entities you claim an ownership interest in, do
 6   writing that shows that?                               6   they own any assets other than the medallions?
 7       A. I might have emails. I would have               7       A. No.
 8   to check.                                              8       Q. They don't own any vehicles?
 9       Q. Other than Capital One, we know                 9       A. Nothing, no.
10   Capital One is a creditor of your father's            10       Q. Do they have creditors other than
11   estate. Are there any other creditors that you        11   Capital One?
12   know of of your father's estate?                      12       A. No.
13       A. I have no control of what Pewzner              13       Q. Do you have an understanding how
14   paid or didn't pay. While I was involved, there       14   much the judgment Capital One has against you?
15   were some creditors. I don't know what of those       15       A. Yes.
16   loans or obligations were paid or not, so I           16       Q. What do you understand that amount
17   don't have control over that.                         17   to be?
18       Q. I'm not asking you about control.              18       A. Eight percent, 4.4.
19   What do you know of whether it's been paid or         19       Q. And you understand interest, post
20   not, what did you know of the other creditors of      20   judgment interest is running on that?
21   the estate?                                           21       A. I want to pay you. Help me pay
22       A. I don't have a recollection now. I             22   you.
23   might have a spreadsheet, but there were, as I        23       Q. I'm asking if you know that.
24   told you, EB-5 investors, there were loans for        24       A. I understand.
25   the real estate with Rosenthal & Rosenthal.           25       Q. Assuming you don't win on the
                                                Page 167                                                   Page 169
 1                Ruben Elberg                              1                Ruben Elberg
 2            There were moneys that had to be              2   contested issues between you and your sister,
 3   paid back to the medallion companies once a sale       3   what's your thinking about how you might be able
 4   or a refinancing took place in the real estate.        4   to pay your debt off to Capital One?
 5   Eventually some money had to go back to the taxi       5       A. Whether I win or not, the fact is
 6   companies that were borrowed.                          6   there's a trail that the medallions lent money
 7       Q. You say the taxi companies, you                 7   to the LLCs, and the moneys were supposed to go
 8   mean the companies that owned the medallions?          8   back to the medallion companies.
 9       A. Yes. I would say those are                      9            So one way or another, Capital One
10   creditors.                                            10   has to get paid, and nobody is trying to duck.
11       Q. Any other creditors you're aware               11   I want to make sure you get paid, but I need
12   of?                                                   12   your help to be able to achieve that.
13       A. I'm just telling you off the top of            13            I've never defaulted with Capital
14   my head what I remember, but there might be           14   One with anything until my father passed away,
15   more, I don't know.                                   15   and I was continuing to make the payments.
16       Q. Do you have an amount in mind or               16            Capital One sent me emails they
17   did you understand what was owed in total to          17   were going to extend the loans, and instead of
18   creditors other than Capital One of your              18   extending the loans, they started the
19   father's estate?                                      19   foreclosure action.
20       A. I don't have a number, no. I don't             20       Q. You say you have emails from
21   remember.                                             21   Capital One?
22       Q. Did you ever know that?                        22       A. From Capital One, clearly they were
23       A. Possibly, yes, I might have some               23   going to extend the loans, it was supposed to go
24   information on that.                                  24   through 2017. They sent me emails.
25       Q. Can you recall any information now?            25       Q. Where are those emails today?

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 1                Ruben Elberg                               1                Ruben Elberg
 2       A. I have them.                                     2   house. I can't even borrow against the house
 3       Q. Anything else as far as you're                   3   now.
 4   thinking about being able to pay the debt back?         4        Q. Getting a job would get you some
 5       A. Irrelevant of who owns those                     5   income.
 6   assets, whether the estate or Class C interest          6        A. That's what I'm working on.
 7   or RORE or RREM or the medallion companies,             7   Unfortunately, being tied up with all these
 8   there's a track record how the money was flowed,        8   litigations, I don't want to start working for a
 9   the money has to be paid back. I have an                9   few thousand dollars a month and not pay four
10   interest to do that, but I'm being hindered.           10   and a half million dollars in debt that I have.
11       Q. Do you have any thoughts about                  11   And I have money that's sitting in an account
12   getting a job and paying part of your income           12   that's eventually supposed to be repaying those
13   toward your debts?                                     13   loans.
14       A. I don't think that's going to pay               14        Q. You're not going to get a job
15   you so fast.                                           15   because?
16       Q. It may not, but I'm asking if you               16        A. The moneys are in the estate
17   have any thoughts about that.                          17   account and in the Shefa accounts. I want to
18       A. I'm looking at potentially getting              18   resolve my obligations. I don't want to be
19   into the brokerage business, and I have a good         19   haunted by people because I have never, ever,
20   understanding of real estate. And I'm seriously        20   ever not paid my bills.
21   thinking of going into the brokerage, but the          21        Q. But getting a job would actually
22   licensing has not been achieved yet, it's going        22   help you by starting to reduce the debt a little
23   to take a couple of months.                            23   bit.
24            And I think sooner than that we can           24        A. I'm working on it, I'm working on
25   resolve these issues if we work together in a          25   it. Unfortunately, I've been overwhelmed with
                                                 Page 171                                                  Page 173
 1                Ruben Elberg                               1                Ruben Elberg
 2   fair and amicable way to get the truth, and to          2   these things.
 3   get to the truth and to get you what you                3       Q. When you say overwhelmed with these
 4   deserve.                                                4   things --
 5        Q. Have you asked for any loans from               5       A. With the litigations.
 6   anybody to try to help pay the debt down?               6       Q. It doesn't take up all day every
 7        A. No. I don't have any, all my                    7   day, you can actually work, right, do you agree?
 8   assets are tied up. When people lend you money,         8       A. I will work on that. Thank you for
 9   they lend you money on assets. All my assets            9   the recommendation, I will work on it.
10   are tied up.                                           10       Q. So there are documents you still
11        Q. You still have equity in your                  11   need to get to us. I mean, I don't want to get
12   house, right?                                          12   into a dispute whether you made a good faith
13        A. Not really, it's practically gone.             13   effort to find them.
14        Q. How do you know that if you don't              14            MR. FORSTOT: So what I'll do then
15   know the value of the house?                           15       is hold this deposition open.
16        A. It's somewhere in the million                  16       Q. When do you think you can get all
17   dollar range, you know. What equity do I have          17   the documents we talked about, the bank
18   if I owe $800,000, what kind of equity do I have       18   statements and the other documents to us?
19   there, there's practically nothing left.               19       A. Tell us what you need, and I'll try
20        Q. Have you asked for a loan to be                20   to work on getting it.
21   secured by whatever equity you have left?              21       Q. We did send you a letter.
22        A. No, I cannot, and that's because I             22            MR. FORSTOT: I'll send your
23   don't have income to prove. I can't even               23       counsel a letter saying these are the
24   refinance my house to prove that I have                24       documents we talked about in the
25   additional income so I can borrow against the          25       deposition. If you like, I can tell you we
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 1             Ruben Elberg                        1
                                                   2                 INDEX
 2    would like them in a week.                   3      WITNESS      EXAMINATION BY                      PAGE
 3         MR. McCARTHY: For scheduling            4      Ruben Elberg  Mr. Forstot   4
                                                   5
 4    purposes, I'm going to be out of the                            EXHIBITS
 5    country from July 8th to July 18th, so we    6
                                                          PLAINTIFF'S          DESCRIPTION                PAGE
 6    would like some time beyond that. If I can 7
 7    get them to you before --                           Exhibit 3      Subpoena duces tecum        58
                                                   8
 8         MR. FORSTOT: If we get the letter              Exhibit 4    Eight pages of Capital One
 9    to you this week, we can get some, if not    9                bank statements        70
                                                  10      Exhibit 5    Alma Bank Personal
10    all of them.                                                  Financial Statement      83
11         MR. McCARTHY: I'll try to get them 11
                                                          Exhibit 6     Capital One Bank Personal
12    to you.                                     12                Financial Statement     85
13         MR. FORSTOT: What I'll do is I'll      13      Exhibit 7     Wilshire State Bank
                                                                    Personal Financial
14    look at them, and if we don't really have   14                Statement            88
15    any questions or any questions, we don't    15      Exhibit 8     Capital One Bank Personal
                                                                    Financial Statement     88
16    have to get together again. But if we do,   16
17    then we do, just to finish this, all right.         Exhibit 9      2012 1040 U.S. Individual
                                                  17                  Income Tax Return       102
18         Do you have any questions for your     18
19    client?                                                         REQUESTS
20         MR. McCARTHY: No, I don't have any 19                 PAGE         LINE
21    questions. I'm just going to put on the     20
                                                                 155         22
22    record that I'm going to state my objection 21
23    to holding it open, but obviously we can    22
                                                  23
24    come to an agreement.                       24
25         MR. FORSTOT: That's it, we're off      25

                                          Page 175                                                                      Page 177
 1             Ruben Elberg                           1
 2     the record.                                    2                    CERTIFICATION
 3                                                    3
 4          [TIME NOTED: 2:19 p.m.]                   4        I, Alice Schulman, a Notary Public for and
 5          ________________________                  5    within the State of New York, do hereby certify:
 6             RUBEN ELBERG                           6        That the witness whose testimony as herein
 7                                                    7    set forth, was duly sworn by me; and that the
 8 Subscribed and sworn to before me                  8    within transcript is a true record of the
 9 this ____ day of ________________, 2017.           9    testimony given by said witness.
                                                     10        I further certify that I am not related to
10
                                                     11    any of the parties to this action by blood or
11 __________________________________
                                                     12    marriage, and that I am in no way interested in
12        NOTARY PUBLIC
                                                     13    the outcome of this matter.
13
                                                     14        IN WITNESS WHEREOF, I have hereunto set my
14
                                                     15    hand this 27th day of June, 2017.
15                                                   16
16                                                   17
17                                                   18
18                                                                        <%Signature%>
19                                                   19                   ALICE SCHULMAN
20                                                   20
21                                                   21
22                                                   22
23                                                   23
24                                                   24
25                                                   25

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